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                            EXHIBIT 4

                             (Redacted)
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                                                                      Page 1

 1                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
 2                               EASTERN DIVISION
 3      MARK HANSEN AND                  §
        JASON BUFFER                     §
 4      INDIVIDUALLY AND                 §
        ON BEHALF OF OTHERS              §
 5      SIMILARLY SITUATED,              §
                                         § NO. 1:20-CV-02142
 6             PLAINTIFFS,               §
                                         § HONORABLE THOMAS M. DURKIN
 7      VS.                              §
                                         § MAGISTRATE JUDGE
 8      UNITED AIRLINES, INC.,           § JEFFREY T. GILBERT
                                         §
 9             DEFENDANT.                §
10      * * * * * * * * * * * * * * * * * * * * * * * * * * *
11                              ORAL DEPOSITION OF
12                              SEAN T. MALONE, PhD
13                                 JUNE 6, 2023
14      * * * * * * * * * * * * * * * * * * * * * * * * * * *
15                           ORAL DEPOSITION OF SEAN T. MALONE, PhD,
16      produced as a witness at the instance of the Defendant
17      and duly sworn, was taken in the above-styled and
18      numbered cause on the 6th day of June 2023, from 8:53
19      a.m. to 2:39 p.m., before MICHELLE CARVER, Certified
20      Shorthand Reporter, in and for the State of Texas,
21      reported by oral stenograph, at Akerman LLP, 112 East
22      Pecan Street, San Antonio, Texas, pursuant to the
23      Federal Rules of Civil Procedure and the provisions
24      stated on the record or attached hereto.
25

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   1            APPEARANCES                                      1                 EXHIBITS
   2 FOR THE PLAINTIFFS:                                         2 NUMBER              DESCRIPTION                         PAGE
   3     DANIEL J. KUROWSKI                                      3 Exhibit 1        Notice of Deposition ............... 7
         HAGENS BERMAN SOBOL SHAPIRO LLP                         4 Exhibit 2        Expert Report of Sean T. Malone, PhD      8
   4     455 North Cityfront Plaza Drive                         5 Exhibit 3        Rebuttal Report of Sean T. Malone, PhD 43
         Suite 2410                                              6 Exhibit 4        Consolidated Class Action Complaint      50
   5     Chicago, Illinois 60611                                 7 Exhibit 5        Rebuttal Expert Report of
         dank@hbsslaw.com                                                        Michael J. Petron .................. 71
   6                                                             8
   7 FOR THE DEFENDANT:                                              Exhibit 6      Expert Report of Michael J. Petron           79
   8     SONDRA A. HEMERYCK                                      9
         RILEY SAFER HOLMES & CANCILA LLP                            Exhibit 7      Excel Spreadsheet ..................    85
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   9     70 West Madison Street
                                                                   Exhibit 8     Excel Document -- Data of the Combined
         Suite 2900
                                                                11            Data Table by Michael J. Petron ....      87
  10     Chicago, Illinois 60602
                                                                12 Exhibit 9     Excel Document -- Excerpt of the
         shemeryck@rshc-law.com
                                                                              Combined Data Table by
  11
                                                                13            Michael J. Petron ..................   90
  12 ALSO PRESENT:                                              14 Exhibit 10     Jeff Christensen's Transcript ...... 102
  13     ELI LITOFF (Appeared remotely)                         15 Exhibit 11     Report of Special Master No. 1 ..... 155
  14                                                            16 Exhibit 12     Agreed Order for Data Collection
  15                                                                          and Analysis ....................... 159
  16                                                            17
  17                                                               Exhibit 13     Report of Special Master No. 3 ..... 163
  18                                                            18
  19                                                            19
  20                                                            20
  21                                                            21
  22                                                            22
  23                                                            23
  24                                                            24
  25                                                            25

                                                       Page 3                                                                         Page 5
   1                     INDEX                                1           THE COURT REPORTER: We are on the
   2                                              PAGE        2 record. Today's date is Tuesday, June 6th, 2023. The
   3 Appearances ..................................    2      3 time is 8:53 a.m.
   4 Exhibits .....................................  4        4           Prior to going on the record, all
   5 SEAN T. MALONE, PhD                                      5 parties have agreed to waive the read on for the
   6   Examination by Ms. Hemeryck .............            5 6 Federal read on.
   7                                                          7           (Reading of FRCP 30(b)(5) waived)
   8 Reporter's Certificate ....................... 175       8             (Witness was sworn)
   9                                                          9            SEAN T. MALONE, PhD,
  10                                                         10 having been first duly sworn/affirmed testified as
  11                                                         11 follows:
  12                                                         12               EXAMINATION
  13                                                         13 BY MS. HEMERYCK:
  14                                                         14     Q. Good morning, Dr. Malone.
  15                                                         15     A. Good morning.
  16                                                         16     Q. Could you just, for the record, state your
  17                                                         17 full name and spell your last name.
  18                                                         18     A. My name is Sean Malone. My last name is
  19                                                         19 spelled M-A-L-O-N-E.
  20                                                         20     Q. Okay. Great.
  21                                                         21        And the first name is S-E-A-N, right?
  22                                                         22     A. S-E-A-N, yes.
  23                                                         23     Q. Probably should have asked you to spell that
  24                                                         24 one.
  25                                                         25        So I understand you have been deposed

                                                                                                                           2 (Pages 2 - 5)
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                                                      Page 6                                                       Page 8
   1 before?                                                1 deposition?
   2     A. Yes.                                            2    A. No, I am not represented.
   3     Q. How many times?                                 3    Q. You're not represented by counsel?
   4     A. I was deposed in one case. It was scheduled     4    A. I --
   5 over two different dates.                              5    Q. Okay.
   6     Q. Okay. So you've done this before, but I'm       6    A. No.
   7 going to remind you a few of the ground rules just so 7            MR. KUROWSKI: I will be objecting on
   8 we're on the same page, okay?                          8 behalf of plaintiffs, of course.
   9     A. Okay.                                           9           MS. HEMERYCK: Wonderful. Thank you.
  10     Q. Great. So first one is you just took an        10 Okay. Great.
  11 oath, the same oath you would take if you were        11    Q. (BY MS. HEMERYCK) So, Dr. Malone, the court
  12 testifying in court. Do you understand that?          12 reporter has now handed you what has been marked as
  13     A. Yes.                                           13 Malone Exhibit 2.
  14     Q. Great. You're doing a good job so far of       14           (Exhibit Number 2 marked)
  15 waiting for me to finish questions before you answer. 15    Q. And for the record, I believe, but I would
  16 If we talk at the same time, the court reporter can't 16 ask you to confirm, this Exhibit 2 is your April
  17 take it all down. So if you could wait for me, that   17 20 expert -- April 2023 expert report in this case
  18 would be great. I'll try to wait for you to answer.   18 except it does not include Exhibit 2, which was your
  19 Does that work?                                       19 Excel spreadsheet.
  20     A. That works.                                    20       Can you confirm that?
  21     Q. Terrific. You also have to answer verbally     21    A. This appears to be complete -- a copy of my
  22 as you're doing. No nods or shakes of the head or     22 April 20th report.
  23 shrugs of the shoulders, okay?                        23    Q. Except for that one exhibit?
  24     A. Okay.                                          24    A. Uh-huh. Yes.
  25     Q. Great. If you don't understand a question      25    Q. Great. So if you could turn to page 3,
                                                      Page 7                                                       Page 9
   1 that I ask, please tell me. I'll try to clarify it or      1 paragraph 1, it states that you are retained by Hagens
   2 rephrase it. If you answer it, I'm going to assume         2 Berman Sobol Shapiro LLP and Cafferty Clobes
   3 you understood the question; is that fair?                 3 Meriwether & Sprengel LLP, right?
   4     A. That's fair.                                        4    A. That's correct.
   5     Q. Okay. Great. We can take a break anytime            5    Q. So how did you come to be retained by those
   6 you want unless a question is pending, all right?          6 two law firms for this matter?
   7     A. Yes.                                                7    A. In April, I received an email from somebody
   8     Q. Okay. And is there any medication you're on         8 else at my company stating -- really forwarding the
   9 that would prevent you from giving truthful testimony      9 interest from counsel in talking with us about this
  10 today?                                                    10 case.
  11     A. No.                                                11    Q. And your company is Analytic Focus?
  12     Q. Is there any other reason you can't testify        12    A. Yes.
  13 truthfully today?                                         13    Q. And who was the person who emailed you?
  14     A. No.                                                14    A. Dr. Charles Cowan emailed me.
  15     Q. Okay. All right. So -- so the court                15    Q. Do you have any knowledge of why it is that
  16 reporter has handed you what has been marked as Malone    16 plaintiffs' counsel had reached out to Dr. Cowan?
  17 Exhibit 1, which is, for the record, Notice of            17            MR. KUROWSKI: Dr. Malone, to the
  18 Deposition of Sean T. Malone, PhD.                        18 extent that it -- the answer requires you to reveal
  19           (Exhibit Number 1 marked)                       19 communications that are protected under the Federal
  20     Q. Have you seen this document before?                20 Rules of Civil Procedure with counsel, I'm going to
  21     A. Yes.                                               21 instruct you not to answer the question.
  22     Q. And you understand you are testifying today        22    Q. (BY MS. HEMERYCK) And can you answer the
  23 pursuant to the notice that is Exhibit 1?                 23 question?
  24     A. Yes.                                               24    A. I -- I don't know why. I just received an
  25     Q. And are you represented by counsel in this         25 email.

                                                                                                        3 (Pages 6 - 9)
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                                                     Page 10                                                   Page 12
   1     Q. So you never asked or spoke with Dr. Cowan 1 answer?
   2 about why he had been contacted?                     2           MR. KUROWSKI: I'm going to say that
   3     A. No. I didn't talk to him before our next      3 under Rule 26 -- you slightly misstated it -- you're
   4 call concerning it. Just the emails setting it up.   4 entitled to understand communications regarding
   5     Q. So after you received that email -- you said  5 compensation, facts, data, or assumptions plaintiffs'
   6 it was sometime in April. I assume that's April      6 counsel provided and on which Mr. -- Dr. Malone
   7 of 2023?                                             7 considered in forming his opinions to be expressed.
   8     A. Yes.                                          8           If you want an answer, ask those
   9     Q. Okay. And do you have any better estimate? 9 questions, by all means, go ahead. And to the extent
  10 Was it, you know, the first half of April?          10 that your answer includes that information, you may
  11     A. It would have been the first half of April,  11 provide that information. But if it -- you are unable
  12 yes.                                                12 to, I'm going to instruct you not to answer.
  13     Q. Okay. Do you know about how long it was      13     Q. (BY MS. HEMERYCK) All right. So do you
  14 before the date of your April 20th report that you  14 need me to rephrase the question for you?
  15 were contacted?                                     15     A. If you could please, rephrase or repeat.
  16     A. I know the initial call would have been      16     Q. Okay. So during this initial call, were you
  17 sometime before April 11th.                         17 provided any facts, data, or assumptions about the
  18     Q. And who was on that initial call?            18 case by counsel that you considered in forming your
  19     A. That would have been from my firm myself, 19 opinions?
  20 Mauricio Vidaurre.                                  20     A. I hadn't received any data about the case up
  21     Q. Definitely going to have to spell that one.  21 to that point until after the retention letter was
  22     A. The last name is V-I-D-A-U-R-R-E. His first 22 signed. I believe the nature of the call is more
  23 name Mauricio, M-A-U-R-I-C-I-O.                     23 introductory. I don't even -- I didn't know which
  24        I believe Dr. Charles Cowan was also on that 24 case it was at that point in time. It didn't have a
  25 call. That's all I recall from our side. And then I 25 complaint yet.
                                                     Page 11                                                   Page 13
   1 know Mr. Kurowski, Mr. Hagman, Mr. Kenney. I believe       1     Q. So the short answer, then, would be during
   2 Mr. Sauder may have also have been on the call. There      2 that call, counsel did not provide you any -- let's
   3 may have been others that I don't know.                    3 break it up -- any facts about the case that you
   4    Q. Okay. And this call occurred prior to your           4 considered in forming your opinions?
   5 retention?                                                 5     A. I don't recall any of those facts.
   6    A. Yes.                                                 6     Q. Okay. And did counsel provide you any
   7    Q. And what, if anything, did Counsel tell you          7 assumptions about the case that you considered in
   8 about the case at that time?                               8 forming your opinions?
   9            MR. KUROWSKI: Dr. Malone, I'm going to          9     A. No.
  10 instruct you not to answer the question to the extent     10     Q. And you said they hadn't provided you any
  11 that it calls for communications between you, as the      11 data about the case that you considered in forming
  12 expert, and counsel in this case. If you can answer       12 your opinions?
  13 the question without disclosing the substance of the      13     A. I had no data from that initial call.
  14 communication, then you may go ahead. Otherwise, I'm      14     Q. Okay. So did you have a signed engagement
  15 going to instruct you not to answer.                      15 letter in this matter?
  16            MS. HEMERYCK: And just for the record,         16     A. Yes.
  17 I would note a couple of things. He just said this        17     Q. Do you know when that letter was signed?
  18 was prior to his retention; so I don't think it's         18     A. The letter was dated April 11th.
  19 protected at that point. In addition to that, under       19     Q. Okay. So let's turn -- look at -- back to
  20 Rule 26, we're entitled to discover any data or           20 Exhibit 2, which is your April 20 report. Paragraph 2
  21 information provided to the expert by Counsel. So if      21 states: "I was asked to review data produced by
  22 he provided any information -- if Counsel provided any    22 United Airlines in this matter, develop a methodology
  23 information about the case during that call, that         23 capable of identifying class members based on that
  24 would be discoverable.                                    24 data, and to implement the methodology to produce a
  25            Are you still instructing him not to           25 preliminary class size estimate."

                                                                                                   4 (Pages 10 - 13)
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                                                     Page 14                                                         Page 16
   1        Did I read that correctly?                          1 assisted with writing the report.
   2     A. Yes.                                                2     Q. Okay. So the actual analysis of the data
   3     Q. And is that an accurate statement of what           3 and the writing of the report, that was all done by
   4 you were retained to do in this case?                      4 you?
   5     A. Yes.                                                5     A. Yes.
   6     Q. And how much are you getting paid for your          6     Q. Okay. And you said that somebody at
   7 work in this case? Or how much is your firm being          7 Analytic Focus reviewed it for quality control. Who
   8 paid?                                                      8 was that?
   9     A. My firm is being paid $450 per hour of my           9     A. That would have been Mauricio Vidaurre.
  10 time.                                                     10     Q. Got it. Okay.
  11     Q. And is that your standard hourly rate?             11         And then, for your rebuttal report on --
  12     A. Yes.                                               12 which I know we haven't marked yet, but did anyone
  13     Q. Do you have a different rate for testimony?        13 assist you in drafting your rebuttal report?
  14     A. Not -- not that I'm aware of. I generally          14     A. Again, I would have had Mauricio Vidaurre
  15 don't deal too much with the rates. But typically, on     15 assisting with quality control on drafts, and that's
  16 letters of engagement, it's $450.                         16 it.
  17     Q. And who is actually paying for your time in        17     Q. Okay. So we already talked about the
  18 this case?                                                18 initial call and whether counsel provided you anything
  19     A. My function at Analytic Focus is kind of           19 during that call. So now I want to ask the question
  20 outside of the accounting and bill -- receivables of      20 just more broadly, which is: During your engagement
  21 the firm. I would have to assume it's whoever is on       21 in this matter, had -- did plaintiffs' counsel tell
  22 the engagement letter.                                    22 you to assume any facts for the purposes of your
  23     Q. And you've seen the engagement letter, I           23 opinions?
  24 assume?                                                   24     A. They did provide me some instructions as to
  25     A. Uh-huh.                                            25 what can be used to estimate the class size, and I
                                                     Page 15                                                         Page 17
   1     Q. You have to say "yes."                              1 detail those in my report.
   2     A. Yes. Sorry.                                         2     Q. And would that be paragraph 18 of your
   3     Q. And do you recall who the engagement letter         3 report where you detailed those assumptions?
   4 is with, and who --                                        4     A. Yes. It looks like it has some of the
   5     A. It's with -- in paragraph 1, Hagens Berman          5 instructions from counsel.
   6 Sobol Shapiro LLP and Cafferty Clobes Meriwether &         6     Q. Would paragraph 19 be another paragraph that
   7 Sprengel LLP.                                              7 details the instructions from counsel?
   8     Q. So is it your understanding that those two          8     A. Paragraph 19, yes. So 18 is kind of an
   9 firms are paying for your work in this case?               9 overview of many of the instructions, and 19 and 20 --
  10     A. That's my understanding.                           10 and they continue on detailing some of -- each one
  11     Q. Okay. And how many hours have you worked on        11 individually.
  12 this case to date, approximately?                         12     Q. So just so I'm clear: Like looking at
  13     A. I don't have those records in front of me.         13 paragraph 20, it says: "For purposes of this report, I
  14 It would be hard for me to speculate.                     14 focused on identifying ticketed passengers whose
  15     Q. Can you estimate?                                  15 itineraries ultimately were canceled by United, i.e.,
  16     A. I would say it's likely in excess of               16 a United-initiated change."
  17 45 hours.                                                 17        Right?
  18     Q. Did anyone assist you with the preparation         18     A. Yes, it says that.
  19 of your April 20th report?                                19     Q. And are you saying that counsel instructed
  20     A. I would have had somebody at Analytic Focus        20 you to use that field or that counsel instructed you
  21 review my report for quality control. We also have a      21 to focus on identifying ticketed passengers whose
  22 director of IT who sometimes assists with optimizing      22 itineraries ultimately were canceled by United?
  23 database functions as we have servers to handle large     23     A. Counsel instructed me to, as I write in
  24 data. So there's some administrative parts that I         24 paragraph 18, exclude -- excuse me -- exclude persons
  25 would have had assistance with, but he wouldn't have      25 who initiated the changes to their travel.

                                                                                                       5 (Pages 14 - 17)
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                                                        Page 18                                                     Page 20
   1        And in paragraph 20, I further go on to give           1     Q. So what does it mean to be an associate
   2 you more context. I also used the field                       2 director of analytics?
   3 "customer-initiated change," which reflects whether or        3     A. Associate director is just a level in the
   4 not the customer-initiated changes in their itinerary         4 hierarchy at Analytic Focus. So there would be a
   5 using binary values of zero or one. So that, combined         5 director position above, if it's filled, and
   6 with the United-initiated change, allows me to                6 research -- senior research associates and other
   7 complete the analysis with their instructions.                7 associates immediately below in the hierarchy there.
   8     Q. Well, we'll come back to that question.                8     Q. Is there currently a director of analytics
   9        But looking at paragraph 20, which talks               9 at Analytic Focus?
  10 about your use of those two fields, the                      10     A. Not currently.
  11 customer-initiated change indicator field and the            11     Q. So is there anyone you would consider to be
  12 ticket data and the UA-initiated change indicator in         12 your supervisor or superior?
  13 the -- what you call "the ticket data."                      13     A. Yes. Mauricio Vidaurre is a vice president
  14        Did counsel instruct you to use those fields          14 at Analytic Focus.
  15 to accomplish this purpose?                                  15     Q. Okay. So what do you do as an associate
  16     A. Counsel's instructions was simply to exclude          16 director of analytics?
  17 those. I relied on the deposition of Jeffrey                 17     A. Often, I am either leading or assisting in
  18 Christensen to look at the field, for example,               18 consulting projects. And those consulting projects
  19 customer-initiated change, to fulfill that                   19 can range from financial subject matters, applying
  20 instruction.                                                 20 statistical methods or economic analysis, or more
  21     Q. Okay. Other than the instructions that are            21 general data analysis to different assignments that we
  22 described in paragraphs 18, 19, and that first               22 receive from clients.
  23 sentence of paragraph 20, are there any other                23     Q. Is your work in that role exclusively
  24 assumptions that were provided to you by counsel?            24 related to supporting expert testimony in litigation?
  25     A. There may be. For example, in paragraph 16,           25     A. It's not exclusive, but it's a large part.
                                                        Page 19                                                     Page 21
   1 the decision to use the field flight scheduled on      1    Q. About what percentage would you say?
   2 departure date and the ticket data to choose the       2    A. It would be hard to say. It's more than
   3 flights that were canceled or that proxy variable for  3 75 percent.
   4 canceled flights from Mr. Christensen. I believe that 4     Q. And for the other, say, approximately
   5 decision was come to with counsel as an assumption. 5 25 percent, what sort of consulting engagements --
   6     Q. Any others?                                     6 and, you know, without naming any clients or
   7     A. Not that I can recall at this moment.           7 anything -- would you be involved in?
   8     Q. So let's turn, if you could, to page 4 of       8    A. It could be helping organizations optimize
   9 Exhibit 2, and I'm looking at the section titled       9 their operations by examining data, giving them
  10 "Professional Qualifications and Compensation."       10 insights into their data that they can use in some
  11         Do you see that?                              11 way.
  12     A. I do.                                          12    Q. And is your hourly rate for that kind of
  13     Q. Okay. So what do you consider to be your       13 consulting work the same as your hourly rate in this
  14 particular areas of expertise?                        14 matter?
  15     A. My areas of expertise are data analysis,       15    A. I don't know.
  16 economics, finance, and statistics.                   16    Q. So you have a bachelor's degree in financial
  17     Q. And which of those areas of expertise did      17 economics?
  18 you bring to bear in forming your opinions in this    18    A. Yes.
  19 case?                                                 19    Q. And you have a master's and a PhD in
  20     A. My expertise in data analysis and              20 finance?
  21 statistics.                                           21    A. Yes.
  22     Q. So you state in paragraph 6 of Exhibit 2       22    Q. And would you agree that your work in this
  23 that you are an associate director of analytics at    23 matter does not involve financial economics?
  24 Analytic Focus LLC.                                   24           MR. KUROWSKI: Objection. Vague.
  25     A. Yes.                                           25    Q. (BY MS. HEMERYCK) You can answer.

                                                                                                       6 (Pages 18 - 21)
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                                                        Page 22                                                         Page 24
   1      A. To the extent that it shares a common skill           1 experience includes: supporting expert testimony in
   2 set, it does.                                                 2 litigation topics such as construction defects,
   3      Q. And what would be a common skill set?                 3 discriminatory mortgage lending, housing violations,
   4      A. Data analysis, financial economics involves           4 and securities.
   5 looking at databases of financial information whether         5         Right?
   6 it's panel data, time series data, looking at the very        6     A. That's correct.
   7 large datasets and running high-volume analyses. So           7     Q. And none of those topics are involved in
   8 it shares a lot of common features and skills.                8 this case, right?
   9      Q. And how about finance, which is what you              9            MR. KUROWSKI: Objection. Vague.
  10 have a master's and PhD in? Does your work in this           10            You may go ahead.
  11 matter involve finance, in your view?                        11     A. To the extent that the same skill sets are
  12      A. Again, to the extent it shares common                12 involved, yes. So construction defects involves data
  13 skills.                                                      13 analysis, discriminatory mortgage lending involves
  14      Q. And which common skills?                             14 data analysis of large datasets and looking at
  15      A. Data analysis is a very valuable skill in            15 individual consumer level data, and housing violations
  16 finance whether it's corporate finance, investments.         16 and securities also involve data analysis to a large
  17 Both areas I have specialized in in the past.                17 degree.
  18      Q. Got it. Sorry.                                       18     Q. (BY MS. HEMERYCK) Okay. But let's -- my
  19         So could you turn to Exhibit 1 of your               19 actual question was -- and I'll break it down.
  20 April 20th report, which has been marked as Exhibit 2.       20     A. Sure.
  21      A. I'm there.                                           21     Q. This case does not involve construction
  22      Q. So is Exhibit 1 to your April 20th, 2023,            22 defects, right?
  23 report your current CV?                                      23     A. No.
  24      A. There has been a slight correction to it             24     Q. This case does not involve discriminatory
  25 since then, since April 20th.                                25 mortgage lending?
                                                        Page 23                                                         Page 25
   1     Q. Can you tell me what that is?                          1    A. No.
   2     A. Sure. On page 2, there is a case listed for            2    Q. This case does not involve housing
   3 previous testimony, and the case number was incorrect.        3 violations?
   4     Q. Do you happen to have the correct case                 4    A. No.
   5 number?                                                       5    Q. This case does not involve securities?
   6     A. Yes. It was attached to my rebuttal report             6    A. I don't know about that. That seems to be a
   7 in the -- one moment.                                         7 legal issue. Mr. Petron has written in reports about
   8     Q. Any other changes that were made to your CV            8 insurance, and insurance is a form of financial
   9 between the submission of your April 20th report and          9 security.
  10 your rebuttal report?                                        10    Q. You think insurance is at issue in this
  11     A. Not that I recall.                                    11 case?
  12        The correct case number is 2018–CA–13570–O.           12    A. Mr. Petron has brought up insurance several
  13     Q. And it says you testified at trial                    13 times.
  14 on April 11, 2023, right, in that case?                      14    Q. You're talking about trip insurance in
  15     A. That's correct.                                       15 particular?
  16     Q. What was the outcome of that trial?                   16    A. Yeah. I don't know that it's a major point
  17     A. I believe it's pending.                               17 of my analysis, but it is a security.
  18     Q. So bench trial?                                       18    Q. So your view would be trip insurance is a
  19     A. Yes.                                                  19 security for purposes of this case?
  20     Q. And so the parties are waiting for a ruling           20    A. It's a possible relationship.
  21 from the court?                                              21    Q. Okay. I assumed that -- well, let me ask.
  22     A. As of the last time I've seen. It may have            22 So the cases you've worked on, other cases involving
  23 changed since.                                               23 securities, what kind of securities were involved?
  24     Q. So the first paragraph on page 1 of your CV,          24    A. Residential mortgage-backed securities.
  25 Exhibit 1 to your April 20 report, says your                 25    Q. So not trip insurance?

                                                                                                         7 (Pages 22 - 25)
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                                                       Page 26                                                        Page 28
   1     A. Not trip insurance, specifically. But                 1    A. My work did not.
   2 securities are schedules of cash flows, and payouts on       2    Q. The paragraph goes on to say that you have
   3 trip insurance are a cash flow.                              3 "conducted other empirical analyses using regression
   4     Q. Got it. Okay. So then in the second                   4 analysis, time series models, and other statistical
   5 paragraph of your CV, which is Exhibit 1 to your April       5 tools."
   6 20th report, it states: "Dr. Malone has a strong             6        We're going to leave out other statistical
   7 background in data analysis and econometrics. His            7 tools because that's pretty broad.
   8 research has dealt with developing new event study           8        Did your work in this case involve
   9 measures for volatility and measuring their                  9 conducting other empirical analyses using regression
  10 performance through Monte Carlo simulations."               10 analysis?
  11        So let's pause there. Your work in this              11    A. I didn't do any regression analysis in this
  12 case did not involve developing new event study             12 case.
  13 measures for volatility and measuring their                 13    Q. Did you do any time series modeling in this
  14 performance through Monte Carlo simulation, right?          14 case?
  15     A. No.                                                  15    A. I haven't done any time series modeling in
  16     Q. Okay. It says you also --                            16 this case up to this point.
  17           MR. KUROWSKI: Sorry.                              17    Q. Okay. And now we'll go to other statistical
  18           Just so we're clear: You said "no" to             18 tools. What statistical tools did you use in this
  19 her question. Her question was: It did not involve          19 case, if any?
  20 it? Can you just clarify --                                 20    A. I used tab- -- like two-way tabulation to
  21           (Simultaneous speaking)                           21 count various occurrences in the data by applying some
  22     A. I would like to clarify that, yes. I didn't          22 objective criteria to the data. I consider that an
  23 catch the negative there. My work did not involve           23 application of statistical tools.
  24 developing new event study measures for volatility in       24    Q. Any others?
  25 measuring their performance through Monte Carlo             25    A. I -- generally, if you look at the --
                                                       Page 27                                                        Page 29
   1 simulation.                                             1 "interpret statistical tools" as tools to conduct
   2            MR. KUROWSKI: Thank you.                     2 statistical analysis, I think the use of databases is
   3            MS. HEMERYCK: Thank you for the              3 a statistical tool to that extent.
   4 clarification, Counsel, and I'll ask the next question  4     Q. Okay. Apart from your work on this case,
   5 in a different way so we don't have that problem.       5 during your time at Analytic Focus, have you done any
   6     Q (BY MS. HEMERYCK) The next part of this 6 work relating to the airline industry?
   7 paragraph says that your research has included          7     A. Not that I can recall.
   8 "conducting fixed income event studies."                8     Q. And how about at any other point in your
   9        Did your work in this case involve               9 career prior to being at Analytic Focus? Have you
  10 conducting fixed income event studies?                 10 done any work relating to the airline industry?
  11     A. I did not conduct fixed income event studies 11        A. Not that I recall.
  12 in this case.                                          12     Q. Okay. Apart from this case, have you ever
  13     Q. Okay. The same paragraph of your CV also 13 been asked to develop a methodology for identifying
  14 says that your research has involved "developing and 14 members of a proposed class?
  15 analyzing long/short equity factor investment          15     A. I've been asked to come up with a method to
  16 strategies."                                           16 estimate the size of a class.
  17        Did your work in this case involve              17     Q. How many cases have you been asked to do
  18 developing and analyzing long/short equity factor      18 that?
  19 investment strategies?                                 19     A. I have been engaged in one case doing that.
  20     A. It did not.                                     20     Q. And what case is that?
  21     Q. As the paragraph goes on to say that, in        21     A. I believe it's titled Braswell v. Bow
  22 addition, you have "coded credit default swap pricing 22 Plumbing.
  23 models."                                               23     Q. So Braswell, how would you spell that?
  24        Did your work in this case involve coding       24     A. I would have to look at it, but I believe it
  25 credit default swap pricing models?                    25 is B-R-A-S-W-E-L-L.

                                                                                                        8 (Pages 26 - 29)
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                                                         Page 30                                                     Page 32
    1     Q. Versus what plumbing?                                  1 conclusion.
    2     A. Bow, B-O-W.                                            2           You may go ahead.
    3     Q. Do you know where that case is pending?                3     A. Could you please repeat the question?
    4     A. It's in a district in Alabama. I don't know            4     Q. (BY MS. HEMERYCK) Have you ever been asked
    5 which.                                                        5 to offer an expert opinion on whether a proposed class
    6     Q. Do you know if it's federal court?                     6 is ascertainable?
    7     A. It's federal.                                          7           MR. KUROWSKI: Same objection.
    8     Q. Okay.                                                  8     A. I know that ascertainability of a class is a
    9           MR. KUROWSKI: And, Dr. Malone, with                 9 legal issue and outside the scope of my assignment.
   10 respect to that matter, I just caution you to be             10     Q. (BY MS. HEMERYCK) Well, I understand
   11 cognizant of any case protective orders --                   11 outside the scope of this case. I'm just -- and I
   12           THE WITNESS: Yeah.                                 12 understand that it's a legal issue. I'm just asking,
   13           MR. KUROWSKI: -- that may be in place              13 have you ever, nevertheless, been asked to offer an
   14 in that case as well as not to reveal the substance of       14 expert opinion on whether a proposed class is
   15 any attorney communications, including to the extent         15 ascertainable?
   16 you may or may not have been disclosed in that case.         16     A. No.
   17     Q. (BY MS. HEMERYCK) Are you a testifying                17     Q. Okay. And you said you are familiar with
   18 expert in that case or a consulting expert?                  18 the concept of ascertainability in the class action
   19     A. I haven't testified to this point.                    19 context?
   20     Q. Are you expecting to be a testifying expert           20     A. A limited understanding of it.
   21 or are you, for example, supporting someone else from        21     Q. What is your limited understanding?
   22 Analytic Focus who is the testifying expert?                 22     A. That class members must be reliably
   23     A. I would be expected to testify.                       23 discerned to some degree.
   24     Q. Okay. Have you prepared a report -- or                24     Q. Anything else?
   25 strike that.                                                 25     A. That's it.
                                                         Page 31                                                     Page 33
    1        Have you submitted a report in that case?       1     Q. Did that understanding affect or impact the
    2    A. I don't know if my report has been               2 opinions you expressed in this case at all?
    3 submitted.                                             3           MR. KUROWSKI: Objection. Vague.
    4    Q. So it's in progress?                             4     Q. (BY MS. HEMERYCK) You can answer.
    5    A. It's in progress.                                5     A. Could you clarify any "opinions" that you're
    6    Q. Can you just tell me, generally, what that       6 asking about?
    7 case is about?                                         7     Q. Sure. Well, I'm just asking about all your
    8    A. It's about defective plumbing materials.         8 opinions. So -- and you said you have a limited
    9    Q. And what's the nature of the proposed class?     9 understanding of the concept of ascertainability in
   10    A. Purchasers of defective plumbing materials.     10 the class action context, right?
   11    Q. Plumbers or consumers?                          11     A. Yes.
   12    A. Consumers.                                      12     Q. And you told me what that limited
   13           MR. KUROWSKI: Objection. Vague.             13 understanding is, right?
   14    Q. (BY MS. HEMERYCK) Have you been retained by 14         A. Yes.
   15 the proposed class or by the defendant?               15     Q. My question is: Did your understanding of
   16    A. I don't know if I can disclose that at this     16 the concept of ascertainability in the class action
   17 time.                                                 17 context have any role in your opinions that you formed
   18    Q. Any other cases, apart from this case and       18 in this case?
   19 the Braswell case, where you have been asked to       19     A. I'd say that the role in my opinions is that
   20 develop a methodology for identifying numbers for a   20 I understand that not every single class member must
   21 proposed class?                                       21 be ascertained individually. And so what I've found
   22    A. No.                                             22 and what Mr. Petron have found was -- we both found a
   23    Q. Have you ever been asked to offer an expert     23 large number of individuals who are potentially class
   24 opinion on whether a proposed class is ascertainable? 24 members.
   25           MR. KUROWSKI: Objection. Legal              25     Q. So what's the basis of your understanding

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                                                        Page 34                                                       Page 36
    1 that not every class member must be ascertained              1     A. I am telling you my basis for my
    2 individually?                                                2 understanding -- my limited understanding of
    3             MR. KUROWSKI: Objection. Legal                   3 ascertainability is my experience at Analytic Focus
    4 conclusion.                                                  4 and working with class-related matters.
    5             Also, Dr. Malone, to the extent that             5     Q. Okay. It doesn't really answer my question,
    6 the basis for your understanding comes from                  6 though.
    7 communications with counsel, I'm going to instruct you       7     A. Oh.
    8 not to answer. To the extent you are able to answer          8     Q. So I do need a clear answer for the record,
    9 without revealing any such communications, you may go        9 in case I have to take it to the judge, which is --
   10 ahead.                                                      10     A. I don't -- sorry. I'll let you finish or
   11     A. I can't answer that question.                        11 rephrase.
   12     Q. (BY MS. HEMERYCK) Did counsel ask you to             12     Q. Right. Which is I asked you whether counsel
   13 assume that not every class member must be ascertained      13 in this action instructed you to assume that not every
   14 individually?                                               14 class member must be individually ascertained. And
   15     A. I can't answer that question.                        15 you were, I believe, instructed not to answer that
   16     Q. You understand that if they told you to              16 question. So I'm asking are you going to follow that
   17 assume that, I'm entitled to discover that, right?          17 instruction, or are you going to give me a yes or no
   18             MR. KUROWSKI: Objection. Assuming he            18 on whether counsel instructed you to make that
   19 relied on that assumption informing the opinions to be      19 assumption?
   20 expressed.                                                  20     A. I don't -- I rely on my knowledge of that
   21             MS. HEMERYCK: And he already -- first           21 ascertainability. I don't recall any specific
   22 of all, it's not relied, it's considered. And he            22 instructions from counsel whether or not that was
   23 already said that that played a role in his opinions.       23 their guidance.
   24     A. I have come across this topic of                     24     Q. So going back to your understanding that not
   25 ascertainability of a class in a number of cases that       25 every class member must be ascertained individually,
                                                        Page 35                                                       Page 37
    1 I've worked on but haven't been engaged to provide an        1 do you have an understanding as to whether there is a
    2 opinion. I'm not the only testifying expert at               2 specific, for example, percentage threshold of
    3 Analytic Focus; so I'm broadly familiar with some            3 potential class members who have to be ascertainable?
    4 legal topics that are applicable to class                    4     A. I'm not aware of a threshold. That's
    5 certification and class actions.                             5 probably a legal issue that either -- be up to a trier
    6     Q. (BY MS. HEMERYCK) Have you -- so I asked              6 of fact or out of my expertise.
    7 you before whether you have ever been asked to offer         7     Q. One more question on the Braswell vs. Bow
    8 an expert opinion on whether a proposed class is             8 Plumbing case.
    9 ascertainable. So now I'm going to change it up a            9        Who was the law firm that retained you in
   10 little bit.                                                 10 that case?
   11         Have you ever been involved in a matter             11           MR. KUROWSKI: Objection. Asked and
   12 where you were supporting another expert at Analytic        12 answered.
   13 Focus who was asked to testify about whether a              13           MS. HEMERYCK: No.
   14 proposed class is ascertainable?                            14           MR. KUROWSKI: Well, no.
   15     A. I don't know that I have. Whether                    15     A. I don't believe I can -- I'm not sure that I
   16 ascertainability was the specific objective of anybody      16 can disclose that at this time.
   17 at Analytic Focus testifying in any class action            17     Q. (BY MS. HEMERYCK) Was it either of the two
   18 matters, but it's just a topic that has come up as          18 law firms that retained you in this case?
   19 part of looking at class action and class                   19     A. No.
   20 methodologies.                                              20     Q. Were you retained for that matter before you
   21     Q. Okay. And so just so I'm clear so we get it          21 were retained for this matter?
   22 on the record, are you following Counsel's instruction      22     A. Yes.
   23 not to answer my question about whether counsel, in         23     Q. So if you could, let's look at -- back to
   24 this case, asked you to assume that not every class         24 your CV, which is Exhibit 1 to your April 20 report,
   25 member must be ascertained individually?                    25 which has been marked as Exhibit 2. And on page 2,

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                                                        Page 38                                                    Page 40
    1 you list four publications.                                  1 analysis now in the year of our Lord, 2023?
    2         Do you see that?                                     2     A. I believe there's a low probability of me
    3     A. Yes.                                                  3 redoing that this year.
    4     Q. Have you published anything since the date            4     Q. I don't know. I think it would be
    5 of this CV?                                                  5 fascinating.
    6     A. No. But I would like to clarify.                      6       All right. And then you list -- as we
    7     Q. Okay.                                                 7 previously noted, you list one case under previous
    8     A. The second publication is kind of ambiguous.          8 testimony, which is Grande Vista of Orlando
    9 It could be two. They are slightly different. One            9 Condominium Association, Inc., and Marriott Resorts
   10 was updated in a different year. But I haven't              10 Hospitality Corporation vs. Rick Singh, right?
   11 published anything since this CV was written.               11     A. Yes.
   12     Q. Okay. So is there anything about any of              12     Q. What was that case about?
   13 those four publications that informed your work in          13     A. That was an ad valorem property tax matter,
   14 this case?                                                  14 and I was engaged, initially, as a rebuttal witness.
   15             MR. KUROWSKI: Objection. Vague.                 15 A property appraiser had conducted an analysis where
   16     A. I wouldn't say there are any facts that I            16 he looked at a large set of real estate transactions
   17 relied on, but the methodologies used in some of these      17 and applied several filters to get down to a set and
   18 are methodologies similar to what I would have used in      18 conducted a statistical analysis. And that's the
   19 this case, using -- or, rather, applying objective          19 nature of the case.
   20 filters to the data. So, for example, I would have          20     Q. So you were basically responding to his
   21 done that in the third listing and the fourth listing.      21 analysis of these real estate transactions?
   22     Q. (BY MS. HEMERYCK) So that would be the               22     A. I also conducted another analysis looking at
   23 article called "Innovations in Financial Risk," right?      23 the quality of market efficiency between the two
   24     A. Yes.                                                 24 markets. One where there's developer-to-owner
   25     Q. That was your dissertation?                          25 timeshare sales and the owner-to-owner timeshare
                                                        Page 39                                                    Page 41
    1    A. Yes.                                                   1 resale markets. So also an economic opinion, too.
    2    Q. And then the article "Were Bank CEOs                   2     Q. So basically, there was kind of a data
    3 Overpaid?"                                                   3 analytics/statistical opinion, and then there was an
    4    A. Yes.                                                   4 economic opinion?
    5    Q. And you said in both of those, you would               5     A. Yes.
    6 have used objective filters to analyze data?                 6     Q. So apart from the Grande Vista case that
    7    A. That's correct. So I would start with a                7 you -- or Grande Vista case that you reference in your
    8 large dataset, typically financial data in both of           8 CV and the Bow vs. -- or, sorry, the Braswell vs. Bow
    9 these. The first one, "Innovations in Financial              9 Plumbing case and this case, apart from those three,
   10 Risk," had several large datasets. The second one           10 have you ever been retained as a testifying expert in
   11 would have had a large dataset. And in order to get         11 any other cases?
   12 down to the example of concern, I would apply               12     A. I've been retained, but haven't testified as
   13 objective filters to the data.                              13 a case may have settled.
   14    Q. And then, once you had applied those filters          14     Q. And just very briefly, what is that case
   15 to get down to the sample of concern, you would -- you      15 about?
   16 would do some kind of analysis of the sample?               16     A. It was about the methodology of rating the
   17    A. Yeah. I would conduct some statistical                17 credit of mortgage-backed securities. So it was a
   18 analysis beyond that.                                       18 data and economic analysis.
   19    Q. So are bank CEOs overpaid?                            19     Q. Any others?
   20    A. This was relating to a -- this was published          20     A. Not that I can recall at this moment.
   21 in 2012. So this was during the financial crisis, and       21     Q. Has any court ever precluded you from
   22 we found for the Alpha or excess performance for            22 testifying as an expert?
   23 investors, they were paid a lot more than other             23     A. No.
   24 industries.                                                 24     Q. I think you also have, in your role --
   25    Q. Any chance you're going to redo that                  25 strike all that.

                                                                                                     11 (Pages 38 - 41)
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                                                      Page 42                                                        Page 44
    1        In your role at Analytic Focus, you have            1 bases and reasons for those opinions?
    2 also supported other individuals who were testifying       2     A. I believe it does.
    3 experts, right?                                            3     Q. Do Exhibits 2 and Exhibits 3 together
    4     A. That's correct.                                     4 contain all exhibits that you will use to summarize or
    5     Q. And in any of those engagements, has any            5 support your opinions in this case?
    6 court precluded the testifying expert you were             6     A. No.
    7 supporting from testifying?                                7     Q. So there are additional exhibits that you
    8     A. Yes. I wasn't the only support staff,               8 plan to use to summarize or support your opinions in
    9 but...                                                     9 this case?
   10     Q. And what was that case?                            10     A. As we stated, Exhibit 2 is incomplete.
   11     A. I believe it would have been County of Cook        11     Q. Ah, yes. Thank you.
   12 v. Bank of America.                                       12        All right. So -- and just so that's clear,
   13     Q. What did that case involve?                        13 so Exhibit 2 –- too many Exhibit 2s -- Exhibit 2 --
   14     A. That involved discriminatory lending.              14 Malone Deposition Exhibit 2 does not include
   15     Q. Was that in the Northern District of               15 Exhibit 2, which was your spreadsheet to the report,
   16 Illinois, federal court?                                  16 right?
   17     A. I believe so.                                      17     A. That's correct.
   18     Q. I think I actually know that case.                 18     Q. Okay. Apart from that, do Malone Exhibits 2
   19        Who was the testifying expert who was              19 and 3 together contain all exhibits that you will use
   20 precluded from testifying in that case?                   20 to summarize or support your opinions?
   21     A. Dr. Charles Cowan.                                 21     A. It's complete up to this date. But I
   22            MS. HEMERYCK: Good time for a quick            22 don't -- while I don't have any outstanding tasks, I
   23 five-minute break.                                        23 may be given more assignments by counsel.
   24            THE COURT REPORTER: We are off the             24     Q. Okay. So looking again at Exhibit -- Malone
   25 record. The time is 9:51 a.m.                             25 Exhibit 2, your April 20, 2023, report, specifically
                                                      Page 43                                                        Page 45
    1           (Off the record)                                 1 pointing to paragraph 2, the first sentence states:
    2           THE COURT REPORTER: We are back on the           2 "I was asked to review data produced by United
    3 record. The time is 9:58 a m.                              3 Airlines in this matter, develop a methodology capable
    4     Q. (BY MS. HEMERYCK) All right. So,                    4 of identifying class members based on that data, and
    5 Dr. Malone, looking again at Malone Exhibit 2, does        5 to implement the methodology to produce a preliminary
    6 Malone Exhibit 2 contain a complete statement of your      6 class size estimate."
    7 opinions in this case?                                     7        So is that -- and I think I might have
    8     A. It contains a statement of my opinions as of        8 already asked you, but is that an accurate description
    9 April 20th, 2023.                                          9 of your assignment?
   10     Q. Dr. Malone, the court reporter has handed          10     A. For this report, yes.
   11 you what's been marked as Malone Exhibit 3.               11     Q. For the April 20 report?
   12           (Exhibit Number 3 marked)                       12     A. That's correct.
   13     Q. Can you confirm that Malone Exhibit 3 is a         13     Q. Let's take a look at Malone Exhibit 3. So
   14 complete and accurate copy of your rebuttal report in     14 looking at Malone Exhibit 3, paragraph 3 repeats the
   15 this case, including both exhibits actually?              15 sentence I just read, correct, about -- about what you
   16     A. This appears to be a complete copy of my           16 were asked to do?
   17 May 22nd rebuttal report.                                 17     A. In part, yes.
   18     Q. So do Malone Exhibit 2 and Malone Exhibit 3        18     Q. And then, you also say in paragraph 4 of
   19 together contain a complete statement of your opinions    19 Malone Exhibit 3: "I was asked to review the expert
   20 in this case?                                             20 report of Michael J. Petron, which was issued on
   21     A. I would say that these two exhibits contain        21 April 20, '23, the Petron report."
   22 a -- complete statements of my opinions up to this        22        Right?
   23 date.                                                     23     A. That's correct.
   24     Q. And do Malone Exhibit 2 and Malone Exhibit 3       24     Q. Okay. So that was an additional thing that
   25 together also contain a complete statement of the         25 you were asked to do by counsel?

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                                                        Page 46                                                      Page 48
    1     A. Yes.                                                  1 on that data."
    2     Q. So going back again to Malone Exhibit 2, why          2        Right?
    3 did you use the word "preliminary" in the sentence           3     A. Yes.
    4 where you said you were asked to: "implement the             4     Q. Okay. So looking at paragraph 3 of
    5 methodology to produce a preliminary class size              5 Exhibit 2, your April 20th report, you state: "In
    6 estimate"?                                                   6 preparing this report, I reviewed the following
    7     A. As I understand from my experience and by             7 resources."
    8 looking at the stage of this case, the data produced         8        Do you see that?
    9 by parties in litigation changes. And so as the data         9     A. I do.
   10 may change, the availability of data may change, my         10     Q. Why did you use the word "reviewed" here?
   11 class size estimates can change, and the assumptions        11     A. These are all documents that I received. I
   12 within my data filtering methodology can be adapted to      12 would have opened, read to at least some extent, not
   13 refine the class size estimate.                             13 all the extent, because a lot of these files are
   14     Q. Were you asked by plaintiffs' counsel to             14 really large data files, and it's humanly impossible
   15 assume that additional data would be produced by the        15 to read all of them. So there are things that I
   16 parties in this case?                                       16 reviewed as to what their contents are.
   17     A. I don't know that I relied on any                    17     Q. Are you aware that the Federal Rules of
   18 instructions from counsel to assume that there would        18 Civil Procedure require you to disclose any data or
   19 be more data. I relied more on my experience in cases       19 information that you considered? Are you aware of
   20 and on the testimony of Jeff Christensen that               20 that?
   21 suggested that there was more data.                         21     A. I've seen that rule.
   22     Q. But you have -- you are just essentially             22     Q. Does "reviewed" mean something different
   23 speculating that more data may be produced in this          23 than considered in your mind?
   24 case, right?                                                24     A. I'm not aware of any legal definitions of
   25           MR. KUROWSKI: Objection. Vague.                   25 what may be the difference, but these are the files
                                                        Page 47                                                      Page 49
    1     A. I am not aware of any other data that's been          1 and documents that I used to form my opinions.
    2 produced or provided to me from United that I could          2     Q. So if I asked you to list all the data and
    3 currently add to my methodology and the objective            3 information that you considered in forming your
    4 filters that I currently have. But I am relying on           4 opinions, would the list be any different than what
    5 Mr. Christensen's testimony that does appear to              5 you've got in paragraph 3 of Malone Exhibit 2?
    6 support that there is more data owned by or accessible       6     A. I don't believe so. So, for example, I
    7 by United Airlines.                                          7 don't rely on the flight files, which is the third
    8     Q. (BY MS. HEMERYCK) Are you aware that fact             8 data point. I generate my estimates based on the
    9 discovery in this case is closed?                            9 refund files and ticket files; however, since I had
   10     A. I think the legal timeline of this case is           10 this data and reviewed it, I included it to comply
   11 something I'm not highly informed on.                       11 with Rule 26.
   12     Q. So you don't have any basis to believe that          12     Q. Was there -- is there any data that you
   13 regardless of whether there's additional data that          13 received from plaintiffs' counsel that is not listed
   14 exists that any such data is going to be produced in        14 in paragraph 3?
   15 this case in the future?                                    15     A. At the time of this report, I don't believe
   16     A. I wouldn't know that. I was asked to                 16 I received any other data.
   17 develop a methodology of -- capable of identifying          17     Q. And subsequent to this -- to the data in
   18 class members based on United Airlines data. And so         18 Exhibit 2, did you receive any other data from
   19 to the extent that United Airlines may have other           19 plaintiffs' counsel?
   20 data, my methodology and opinions can include that.         20     A. I did. For example, I received a backup
   21     Q. Well, actually, what your report says is --          21 file, a data file from Mr. Pet- -- is it Petron?
   22 looking again at paragraph 2 of Malone Exhibit 2, it        22     Q. It is.
   23 says you were: "asked to review data produced by            23     A. Mr. Petron.
   24 United Airlines in this matter and develop a                24     Q. Anything else?
   25 methodology capable of identifying class members based      25     A. Not specifically that I recall.

                                                                                                      13 (Pages 46 - 49)
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                                                      Page 50                                                         Page 52
    1     Q. So looking at paragraph 3 of Malone                 1 on paragraph 3 again -- you identified Bates United
    2 Exhibit 2, one of the documents that it says you           2 078664 to United 078673 (the "Ticket Files"), right?
    3 reviewed was the Consolidated Class Action Complaint,      3     A. That's correct.
    4 right?                                                     4     Q. And is that the data that Mike Petron's
    5     A. That's correct.                                     5 April 20, 2023, report refers to as the "Ad Hoc
    6     Q. And the court reporter has handed you -- the        6 Itinerary and Refund Data"?
    7 court reporter has handed you what has been marked as      7     A. I would have to double-check that in his
    8 Malone Exhibit 4, which is the Consolidated Class          8 report, but that sounds familiar.
    9 Action Complaint in this case.                             9     Q. Okay. So you do not list in paragraph 3 the
   10            (Exhibit Number 4 marked)                      10 data that is referred to in Mike Petron's April 20,
   11     Q. Is that the document you reviewed as far as        11 2023, report as the "Close-in-Time Cancellation Data,"
   12 you can tell?                                             12 right?
   13     A. As far I can tell -- as far as I can tell,         13     A. That's correct.
   14 yes.                                                      14     Q. Okay.
   15     Q. And for what purpose did you review that           15           MS. HEMERYCK: And for the record, I
   16 document, Exhibit 4?                                      16 believe that was Confidential, space, United, space,
   17     A. To understand the general nature of the            17 000592.
   18 complaints and to get a class definition.                 18     Q. (BY MS. HEMERYCK) So why did you not
   19     Q. Anything else?                                     19 consider that data in -- for your assignment in this
   20     A. I used the case citations to format my             20 case?
   21 report.                                                   21     A. I don't recall that I received that file. I
   22     Q. So then the third bullet point down, says --       22 would have to -- without having all the emails in
   23 this is what you just referred to as the "flight          23 front of me, I would have to double-check that I don't
   24 files," right? Dates, Confidential United 000610 to       24 have it. But I don't recall receiving it or reviewing
   25 Confidential United 000613; is that right?                25 it.
                                                      Page 51                                                         Page 53
    1     A. That's correct.                                 1    Q. After you received Mike Petron's
    2     Q. Okay. And I believe you just said you           2 April 2023 report where he did utilize that data, did
    3 reviewed that data but did not utilize it in your      3 you ask for that data to be provided by plaintiffs'
    4 methodology.                                           4 counsel?
    5     A. That's correct.                                 5    A. I asked for Mr. Petron's data that he
    6     Q. And then the next bullet point, Bates United    6 provided as his backup as that would include that
    7 000574 to United 000581 (the "Refund Files"). For      7 information.
    8 what purposes did you consider that data?              8    Q. Okay. So looking again at paragraph 3 of
    9     A. So this data, to some extent, contained         9 Malone Exhibit 2, you also do not list United's
   10 refund transactions, and so I used some of the data   10 Contract of Carriage, right?
   11 within this file to exclude some coupons in one of my 11    A. I don't.
   12 filters.                                              12    Q. Okay. Did you ever review the Contract of
   13     Q. And I think specifically you used this --      13 Carriage?
   14 you used that data to exclude persons who paid for    14    A. I believe Mr. Petron excerpted some of the
   15 their tickets with nonmonetary forms of payment; is 15 Contract of Carriage. But other than that, the scope
   16 that right?                                           16 of my assignment was not to evaluate the Contract of
   17     A. That was one of the exclusions.                17 Carriage, but rather the -- an estimate of that class
   18     Q. And did you also use that data to exclude      18 definition.
   19 United employees?                                     19    Q. Okay. And just to be clear: So you
   20     A. Yes. To the extent that those fields were      20 understand that -- because you've seen the class
   21 properly accounted for in the data, yes.              21 action complaint, that plaintiffs in this case are
   22     Q. Okay. Any other use you made of that data? 22 asserting a claim that United breached the Contract of
   23     A. Just the nonmonetary forms of payment and 23 Carriage?
   24 employees.                                            24    A. I recall seeing that in the complaint.
   25     Q. And in the next bullet point -- we're back     25    Q. Okay. But for purposes of your opinions in

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                                                        Page 54                                                         Page 56
    1 this case, you did not need to have an understanding         1 your April 20, 2023, report or your May 22, 2023,
    2 of what the Contract of Carriage actually provides; is       2 rebuttal report, did you consider any information
    3 that right?                                                  3 specific to Plaintiff Mark Hansen?
    4            MR. KUROWSKI: Objection. Vague.                   4     A. I don't believe I considered anything
    5            You may go ahead.                                 5 specific to Mark Hansen.
    6    A. I -- I only had to estimate the size of the            6        I -- I would like to clarify: I did read
    7 class, and the class was defined as it is in                 7 Mr. Petron's criticism, and I addressed it in
    8 paragraph 1, which doesn't mention a Contract of             8 paragraph 36 and that may have been related to
    9 Carriage.                                                    9 Plaintiff Buffer in addressing...
   10    Q. (BY MS. HEMERYCK) So you didn't have to               10     Q. And when you say "paragraph 36," you mean
   11 consider for purposes of your assignment -- no,             11 of --
   12 that's -- scratch.                                          12     A. My --
   13         Okay. So if we could go to Malone                   13     Q. -- your rebuttal report?
   14 Exhibit 3, which is your rebuttal expert report dated       14     A. My report.
   15 May 22, 2023. And so I'm looking at paragraph 5 where       15     Q. Okay. Rebuttal report?
   16 you list additional resources that you reviewed for         16     A. My rebuttal report, yes.
   17 purposes of the rebuttal report, right?                     17     Q. Okay. Was there any information that you
   18    A. That's correct.                                       18 requested from plaintiffs' counsel that you did not
   19    Q. And you have two bullet points. The first             19 receive?
   20 one is Petron, space, Report, space, Combined.txt.          20     A. Yes.
   21 And is that the backup file you were referring to?          21     Q. What was that?
   22    A. Yes.                                                  22     A. After Mr. Petron had issued his report, I
   23    Q. Okay. And then you also incorporate by                23 asked for all the facts and bases that he relied on
   24 reference all the resources you referred to in your         24 within his private conversations with Mr. Christensen.
   25 April 20 report, right?                                     25     Q. And what was the response?
                                                        Page 55                                                         Page 57
    1     A. Correct.                                              1     A. That those weren't available to me.
    2     Q. So you attached to this report Malone                 2     Q. And how did you know that he had
    3 Exhibit 3, as Exhibit 2, some filings from a case            3 conversations with Mr. Christensen?
    4 called Jacob Healey vs. Louisville Metro Government,         4     A. He cites it in his reports.
    5 right?                                                       5     Q. And in his reports where he cites it --
    6     A. That's correct.                                       6 strike that.
    7     Q. But you didn't list those documents as                7        So looking again -- oops, sorry about
    8 resources reviewed, right?                                   8 that -- at Malone Exhibit 2, and I am looking at
    9     A. I explicitly attached them.                           9 paragraph 4, you state that based upon the data you
   10     Q. So you didn't think you needed to list them          10 reviewed and certain assumptions you describe in your
   11 because they were attached?                                 11 report, you developed the methodology that estimates
   12     A. I didn't -- yeah, I didn't list them because         12 the number of class members, arriving at a preliminary
   13 they were attached.                                         13 estimate of 219,286 class members, correct?
   14     Q. In forming your opinions in this case,               14     A. That's correct.
   15 either for your April 20, 2023, report or your May 22,      15     Q. And then you describe that methodology
   16 2023, rebuttal report, did you consider any                 16 starting at paragraph 15, right? -- of Exhibit 2?
   17 information specific to Plaintiff Jason Buffer?             17     A. That's correct.
   18     A. I'm sorry. Could you repeat your question?           18     Q. And you state in paragraph 15, the first
   19            MS. HEMERYCK: Yeah, could you read it            19 sentence: "To estimate the number of class members, I
   20 back?                                                       20 adopted the definition of the proposed class."
   21           (Requested question was read)                     21        Right?
   22     A. I didn't locate any information specific to          22     A. Yes.
   23 Plaintiff Buffer for either of the reports you stated.      23     Q. And then you quote the definition of the
   24     Q. (BY MS. HEMERYCK) And the same question              24 proposed class that is in the Consolidated Class
   25 for -- in forming the opinions expressed in either          25 Action Complaint?

                                                                                                        15 (Pages 54 - 57)
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                                                         Page 58                                                     Page 60
    1     A. Yes.                                                   1 delayed until the next day, which I would consider
    2     Q. And so that's clear in the record, what you            2 possibly a significant delay.
    3 have in paragraph 15 is: "The complaint defined the           3      Q. And apart from whatever that subset of
    4 class as, quote, all persons in the United States that        4 flights is, flights that have a value in the flight
    5 purchased tickets for travel on United Airlines               5 schedule on departure date of zero that might indicate
    6 flights scheduled to operate to, from, or within the          6 the passenger traveled the next day as opposed to not
    7 United States from March 1, 2020, to the date of class        7 traveling at all. Apart from those, you didn't make
    8 certification and who were not issued a refund for            8 any effort to identify flights that were significantly
    9 canceled and/or significantly changed flights on which        9 delayed but not canceled, right? -- or significantly
   10 the passenger did not travel."                               10 changed but not canceled?
   11        Is that right?                                        11      A. That's correct. As I answered earlier, that
   12     A. That's correct.                                       12 was one of the additional instructions from counsel
   13     Q. And so the definition I just read, which is           13 was to focus on this variable and cancellations as
   14 set forth in paragraph 15 of Malone Exhibit 2,               14 it's what's best known and available in the data.
   15 includes both passengers whose flights were canceled         15 It's an objective criteria.
   16 and passengers whose flights were significantly              16      Q. So is it your understanding that whether a
   17 changed, right?                                              17 flight was significantly changed is not an objective
   18     A. That's correct.                                       18 criteria?
   19     Q. And then, in paragraph 16 of Malone                   19            MR. KUROWSKI: Objection. Vague.
   20 Exhibit 2, you describe how you identified tickets           20            Go ahead.
   21 where the flight was canceled, right?                        21      A. That's not my understanding. It can be an
   22     A. That's correct.                                       22 objective criteria, but the data must be produced or
   23     Q. You did not make any attempt in developing            23 evaluated further with additional information to
   24 your opinions that are set forth in Malone Exhibit 2         24 evaluate that objective criteria.
   25 to identify tickets where the flight was significantly       25      Q. (BY MS. HEMERYCK) So was it your conclusion
                                                         Page 59                                                     Page 61
    1 changed but not canceled; is that right?                1 that with the data that was produced by United that
    2     A. I wouldn't say that.                             2 was provided to you, you could not identify flights
    3     Q. So show me where in your report you describe 3 that were significantly changed but not canceled apart
    4 your methodology for identifying tickets where the      4 from that subset of those with the zero in flight
    5 flight was significantly changed but not canceled?      5 schedule on departure date that you previously
    6     A. So it's -- it's still in paragraph 16. Now,      6 mentioned?
    7 while it's a proxy for cancellation if a -- the field   7     A. I didn't draw the conclusion that it wasn't
    8 "flight sched on depart date" is a 1, that could mean   8 possible. It was a decision and instruction from
    9 that they were able to get on the flight the next day,  9 counsel to focus on these cancellations.
   10 which may be a significant delay. So it doesn't        10     Q. Okay. Could you just point me where in your
   11 necessarily exclude everybody who may have had a 11 report that is marked as Exhibit 2, you identify the
   12 significant delay, but their flight wasn't canceled.   12 instruction from counsel to focus just on
   13        So I wouldn't say that I didn't make any        13 cancellations?
   14 attempt, but I do focus on the cancellations at the    14     A. The instruction, as I answered in your
   15 instruction of counsel.                                15 question earlier, it was to focus on this field that
   16     Q. So I think -- let me make sure I understood     16 proxies for cancellations, and it also incorporates
   17 this. I think you just said that if the value in the   17 some significant delays as well. But I don't have a
   18 field of flight schedule on departure date is a 1,     18 sentence in this report that states that other than my
   19 that could indicate a significant change but not a     19 testimony today.
   20 cancellation; is that right?                           20     Q. So looking at paragraph 18 of Malone
   21     A. I'm sorry. The -- I want to clarify that        21 Exhibit 2, you state: "On the guidance of counsel, I
   22 the flight schedule on departure date is zero,         22 further restricted this definition..." -- being the
   23 indicates that on that day there wasn't a flight       23 class definition, right?
   24 between the origin and destination airports. But       24     A. That's correct.
   25 under that case, it could include a flight that was    25     Q. -- "to certain things." -- and Number 2 is:

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                                                        Page 62                                                    Page 64
    1 "to exclude persons who initiated the changes to their       1 described the purpose of it was to focus on
    2 travel."                                                     2 identifying ticketed passengers whose itineraries were
    3        Do you see that?                                      3 ultimately canceled by United. And by implementing
    4     A. I do.                                                 4 the customer-initiated change indicator that only
    5     Q. And is it your understanding that the reason          5 narrows the number of people within the class, I find
    6 for that restriction is because customers who cancel         6 to be a conservative assumption under any scenario.
    7 their own bookings are not eligible for a refund under       7         To the extent of why past that, I can't
    8 the Contract of Carriage?                                    8 answer.
    9            MR. KUROWSKI: Objection. Legal                    9     Q. (BY MS. HEMERYCK) Okay. Did you understand
   10 conclusion.                                                 10 your assignment here to be to narrow the persons
   11            You may go ahead.                                11 potentially eligible for the class to make it as
   12     A. My understanding of this came from the               12 conservative as possible?
   13 deposition of Mr. Christensen and then the instruction      13     A. Not to be as conservative as possible, but
   14 that we should be excluding persons who initiated the       14 to -- if you're given a set of choices being engaged
   15 changes. And that's -- the changes in the itinerary         15 by the plaintiff, I wouldn't want my reputation to be
   16 is the same way that Mr. Christensen described the          16 one that's misleading a trier of fact, biased towards
   17 variable customer-initiated change.                         17 whom I'm engaged by.
   18        My understanding was also to -- that this            18     Q. So you were okay with developing a
   19 should be incorporated with the United-initiated            19 methodology that would knowingly exclude from the
   20 change variable to focusing on those that were              20 class people who actually meet the criteria --
   21 ultimately canceled by United Airlines.                     21            MR. KUROWSKI: Objection --
   22        There wasn't an explicit definition within           22     Q. (BY MR. HEMERYCK) -- but who can't be
   23 Christensen's testimony that it indicated                   23 identified as such by your methodology?
   24 cancellation.                                               24            MR. KUROWSKI: Objection. Vague, legal
   25     Q. (BY MS. HEMERYCK) I don't think that really          25 conclusion.
                                                        Page 63                                                    Page 65
    1 answered my question; so let me try another way.        1     A. My methodology is that of applying objective
    2        Do you have an understanding of why you were 2 filters to the data produced by United. And I
    3 instructed to restrict the definition of the class to   3 understand, from Mr. Christensen's testimony, that
    4 persons who -- to exclude persons who initiated the     4 there's likely data that United possesses or has
    5 changes to their travel?                                5 access to that would allow me to refine the
    6     A. (No verbal response.)                            6 assumptions implemented within my methodology to
    7        I mean, Jeff Christensen did not instruct        7 either look at, for example, delays or things as --
    8 you to do that, right?                                  8 I'm sorry -- features in the data that would indicate
    9     A. No.                                              9 if a customer canceled their itinerary, which would
   10     Q. Okay. So that's what I'm trying to              10 allow my estimate of the class size to more accurately
   11 understand. Do you have an understanding of why        11 reflect the true class size.
   12 counsel instructed you to restrict the definition in   12        But given the data that was produced up to
   13 order to exclude persons who initiated the changes to 13 this point, this was a conservative assumption to come
   14 their travel?                                          14 up with a preliminary estimate.
   15           MR. KUROWSKI: Dr. Malone, to the             15     Q. (BY MS. HEMERYCK) Just to be clear: You
   16 extent your understanding of "why" calls you to        16 decided what filters to use, right?
   17 disclose the substance of communications with          17     A. Ultimately, yes. I signed this report.
   18 attorneys and yourself, except to the extent it        18     Q. Did you read any of the court orders in this
   19 relates to facts, data, or assumptions provided to you 19 case?
   20 and that you relied on in forming the opinions to be 20       A. I don't recall if I read any specifically.
   21 expressed, I'm going to instruct you not to answer.    21 I would have -- once we had an initial discussion, I
   22 To the extent you can answer without divulging the 22 probably would have researched the case and probably
   23 protected communications, you may go ahead.            23 gone and read it, looked up the complaint at least to
   24     A. I can answer this to an extent that in          24 see some initial details about it. I don't know that
   25 paragraph 20 when I describe how I implement this, I 25 I saw or read any court orders.

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                                                      Page 66                                                        Page 68
    1    Q. And just specifically, did you read the              1 departure date is zero, right?
    2 court's order where it ruled on the motion to dismiss      2     A. Yes.
    3 that was filed by United?                                  3     Q. Okay. So going back now to paragraph 16, if
    4    A. No. I don't recall reading that.                     4 you could. And in the second-to-last sentence of
    5    Q. Are you aware that there was, earlier in             5 paragraph 16, you state: "My use of this field..."
    6 this case, a plaintiff named Jacob Rudolph?                6 which is the flight scheduled on departure date field,
    7    A. I am aware because I saw the citation with           7 right?
    8 Rudolph in it at some point.                               8     A. Yes.
    9    Q. And are you aware that the court dismissed           9     Q. "My use of this field assumes that if a
   10 the claims asserted by Jacob Rudolph?                     10 customer's flight was canceled, that they would be
   11    A. Not explicitly until now.                           11 rebooked onto another flight between the same airports
   12    Q. And so I assume that you are also not aware         12 on the same day," right? -- "if such flight existed"?
   13 of why his claims were dismissed?                         13     A. Correct.
   14    A. No.                                                 14     Q. Okay. So what is the basis for that
   15    Q. Okay. So let's talk about the methodology           15 assumption?
   16 you used to try to identify tickets where the flight      16     A. The basis for that is the description of
   17 was canceled, which is in paragraph, again, 16 of         17 this field given by Christensen as to whether or not a
   18 Malone Exhibit 2.                                         18 flight operated between the same airports on the same
   19        Are you there?                                     19 day. And so if they were rebooked onto a different
   20    A. I am.                                               20 airport or on a different day, it may not be reflected
   21    Q. And just so we're clear: Although you've            21 the same way.
   22 said in this deposition that this methodology might       22     Q. So just to be clear: You understand that a
   23 also encompass some tickets that were significantly       23 customer whose flight was canceled could be rebooked
   24 delayed, what you said in your report was: "To            24 by United using different routing that would get them
   25 identify tickets where the flight was canceled, I used    25 to their alternate destination, right? -- I'm sorry --
                                                      Page 67                                                        Page 69
    1 the field flight schedule on departure date in the         1 that would get them to their destination?
    2 ticket data."                                              2     A. It's possible through different routing. It
    3         Right?                                             3 wouldn't be their original destination.
    4     A. The sentence does say that.                         4     Q. Well, it might not be the destination on the
    5     Q. Right. And you didn't say anything there            5 particular -- well, no, it would be -- strike all
    6 about using that field to identify tickets where the       6 that.
    7 flight was significantly changed, right?                   7         So if someone was scheduled to fly from
    8     A. I'm sorry. Could you repeat that?                   8 Newark to Denver direct, okay? Are you with me?
    9     Q. You didn't say anything in that sentence            9     A. Yes.
   10 about using that field to identify flights that were      10     Q. Okay. And for whatever reason, all of the
   11 significantly changed, right?                             11 flights between Newark and Denver were canceled that
   12             MR. KUROWSKI: Objection. Vague.               12 day, so there is a zero in the field for the coupon
   13     A. Not in that sentence.                              13 relating to the Newark to Denver flight.
   14     Q. (BY MS. HEMERYCK) Okay. And then in                14         Are you okay with me so far?
   15 paragraph 23, if you could turn to that, sir. Again,      15     A. Okay.
   16 this is paragraph 23 of Malone Exhibit 2.                 16     Q. Okay. You understand that passenger could
   17         In that paragraph you explain how you used        17 still be flown, say, from Newark to Chicago to Denver,
   18 the field flight scheduled on departure date to           18 right?
   19 identify tickets where the flight was canceled, right?    19            MR. KUROWSKI: Objection. Foundation.
   20     A. That's correct.                                    20            Go ahead.
   21     Q. Right. And what you say is that you used           21     A. I understand that, given your hypothetical
   22 that field. And the way you used that field is that       22 situation here.
   23 you filtered the ticket data to only include records      23     Q. (BY MS. HEMERYCK) Right. So the person's
   24 where all of the following is true and one of those       24 destination is Denver, and they still get to Denver in
   25 bullet points is the field flight scheduled on            25 my scenario, right?

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                                                       Page 70                                                       Page 72
    1     A. Possibly, if they rebooked them, yeah.               1 filter on coupon statuses where the coupon status must
    2     Q. Right. And so in that scenario, you could            2 be Unused-FFC or Unused-Open. If that ticket or that
    3 have a zero in the flight scheduled on departure date       3 coupon had been exchanged to secure new travel through
    4 field but the customer is rebooked through different        4 a new route, it would show as used, even if the flight
    5 rerouting to the final destination, right?                  5 schedule departure date was zero.
    6     A. That's correct.                                      6         So my methodology already accounts for this
    7     Q. So your assumption that anytime a passenger          7 to the extent that Mr. Christensen testified.
    8 has -- that anytime a passenger's flight is canceled,       8 Mr. Petron states that with his private conversations
    9 they would be rebooked on another fight between the         9 with Jeff Christensen that they're not always updated
   10 same airports on the same day is not correct, is it?       10 to the new flight path. He didn't support that.
   11            MR. KUROWSKI: Objection. Vague.                 11 That's a statement that I only have him to rely on
   12            Go ahead.                                       12 for. He hasn't provided any facts that state that,
   13     A. It's an operational assumption that can             13 and so my methodology already accounts for this issue
   14 explain a typical scenario. It may not explain every       14 you're raising.
   15 hypothetical case.                                         15     Q. So you have mentioned conversations that
   16     Q. (BY MS. HEMERYCK) To your knowledge, did            16 Mr. Petron had with Jeff Christensen a number of times
   17 Jeff Christensen testify that if a customer's flight       17 in deposition. And so this -- again, the paragraph 20
   18 between two cities was canceled and there -- they          18 that we just were looking at, there would be an
   19 would be rebooked on another flight between the same       19 example here, right?
   20 airports on the same day?                                  20     A. Yes.
   21     A. (No verbal response.)                               21     Q. And Footnote 28 states: "Conversations with
   22     Q. Did he say that?                                    22 Jeff Christensen, director of distribution at United."
   23     A. I don't think he testified to that                  23         Correct? That's the footnote? That's what
   24 particular assumption.                                     24 you're talking about?
   25     Q. Okay. Dr. Malone, the court reporter has            25     A. That's correct.
                                                       Page 71                                                       Page 73
    1 handed you what has been marked as Malone Exhibit 5,        1     Q. And that footnote is cited as support for a
    2 which is the rebuttal expert report of Michael Petron       2 specific statement: "It is my understanding that the
    3 dated May 22, 2023.                                         3 coupons in the ad hoc data would not always be updated
    4           (Exhibit Number 5 marked)                         4 to include the new flight path."
    5     Q. Do you see that?                                     5        So the text itself there discloses what
    6     A. Yes.                                                 6 information it was that Mr. Petron obtained from these
    7     Q. Okay. So I want to direct your attention to          7 conversations that he is relying on in this report,
    8 paragraph 20 on page 11 of Malone Exhibit 5.                8 right?
    9        So in the middle of paragraph 20, Mr. Petron         9           MR. KUROWSKI: Objection. Foundation.
   10 states: "This field..." -- and he's referring to the       10           Go ahead.
   11 flight scheduled on departure date field, right?           11     A. If that's true, it contradicts
   12     A. Correct.                                            12 Mr. Christensen's testimony. So, for example,
   13     Q. He said: "This field does not reliably              13 page 147 of the Christensen deposition, he is asked
   14 identify customers whose itineraries were canceled;        14 how is that different from exchanged, and he's
   15 however, because a flight scheduled on departure date      15 referring to coupon statuses.
   16 value zero does not necessarily mean the customer was      16        Mr. Christensen responds: "They have not
   17 not transported or offered transportation to their         17 applied the value of this coupon towards anything, and
   18 destination. Specifically, this field does not             18 so exchange means that they've gone through the
   19 consider that United could protect the passenger's         19 process with securing new travel and that they've
   20 travel and reroute them on a new itinerary."               20 taken the value of this coupon and put it towards
   21        Do you see that?                                    21 their new trip."
   22     A. I do.                                               22        And so, in that case, if he's had other
   23     Q. Do you have any basis to dispute those              23 conversations that contradict Mr. Christensen's
   24 statements by Mr. Petron?                                  24 testimony, if I have the choice to rely on
   25     A. I think it ignores the fact that I also             25 Mr. Petron's coffee with Mr. Christensen or sworn

                                                                                                      19 (Pages 70 - 73)
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                                                        Page 74                                                      Page 76
    1 testimony in a court proceeding, I'm going to rely on        1 deposed.
    2 the sworn court testimony.                                   2    Q. Well, you obviously have the transcript,
    3     Q. (BY MS. HEMERYCK) So you think that if                3 right?
    4 United protects a passenger whose flight was canceled        4    A. I do have the transcript.
    5 by rerouting them, that's an exchange?                       5    Q. Right, and the transcript is -- let's see.
    6     A. An exchange --                                        6 The transcript is 263 pages. I'll represent to you.
    7           MR. KUROWSKI: Objection. Vague.                    7        So plaintiff's counsel certainly could have
    8           You may go ahead.                                  8 asked Mr. Christensen whether -- when United protects
    9     A. "An exchange..." -- I'm quoting                       9 a passenger, right? -- by rebooking them or rerouting
   10 Mr. Christensen -- ".. means that they've gone through      10 them, whether the coupon status always updates, right?
   11 the process with securing new travel and they've taken      11 They could have asked that.
   12 the value of this coupon and put it towards their new       12           MR. KUROWSKI: Objection. Vague,
   13 trip."                                                      13 speculation.
   14     Q. (BY MS. HEMERYCK) "They" being the                   14    A. They could ask any question they wanted. I
   15 customer?                                                   15 think that's a legal decision.
   16     A. I would have to speculate what                       16           MR. KUROWSKI: We've been going for
   17 Mr. Christensen's knowledge is there.                       17 about another hour.
   18     Q. And just so my question is clear -- because          18           MS. HEMERYCK: Sure.
   19 all you did was read me back Mr. Christensen's              19           MR. KUROWSKI: Short break?
   20 testimony. Your belief is that the coupon status of         20           MS. HEMERYCK: Sure.
   21 "exchanged" means -- strike that.                           21           THE COURT REPORTER: We are off the
   22        Your belief is that if United protects a             22 record. The time is 10:59 a m.
   23 passenger whose flight was canceled by rerouting them,      23           (Off the record)
   24 that that would have a coupon status of exchanged?          24           THE COURT REPORTER: We are back on the
   25           MR. KUROWSKI: Objection. Vague.                   25 record. The time is 11:06 a m.
                                                        Page 75                                                      Page 77
    1           Go ahead.                                          1     Q. (BY MS. HEMERYCK) So, Dr. Malone, let's
    2     A. No. It wouldn't have a coupon status of               2 talk for a minute about the "Refund Policy" field in
    3 Unused-FFC or Unused-Open.                                   3 the ticket data.
    4     Q. (BY MS. HEMERYCK) Okay. But it wouldn't               4        Do you recall that field?
    5 necessarily have a status of exchanged, right?               5     A. I do.
    6     A. No, not necessarily. I wouldn't know                  6     Q. Okay. And your methodology does not utilize
    7 exactly what it -- maybe, but my filter only considers       7 that field, right?
    8 coupons that are UNUSED-FFC or UNUSED-OPEN.                  8     A. No. It does not --
    9     Q. I'm just trying to understand why you think           9     Q. Okay.
   10 that Mr. Christensen's testimony, which is about the        10     A. -- place any filters specifically on that
   11 coupon status of exchanged, is in any way inconsistent      11 field.
   12 with the statement that where United protects a             12     Q. Okay. But you have an understanding of what
   13 passenger by rerouting them, the coupons might not be       13 that field represents, right?
   14 updated to include the new flight path?                     14     A. I believe there was an internal refund
   15           MR. KUROWSKI: Objection. Vague,                   15 policy at United.
   16 foundation.                                                 16     Q. Well, let me just be clear. So in the
   17           Go ahead.                                         17 values -- the two potential values in that field are
   18     A. I don't see anything in Christensen's                18 refundable and eligible for ticket credit -- for
   19 testimony that states that they wouldn't be updated or      19 travel credit, right?
   20 that the coupon status would show that it's either          20     A. Yes.
   21 unused or Unused-FFC or Unused-OPEN.                        21     Q. Okay. And you understand that a value of
   22     Q. (BY MS. HEMERYCK) You're aware that                  22 eligible for travel credit in the refund policy field
   23 Mr. Christensen was deposed in this case for                23 means the customer's travel was neither disrupted by
   24 seven hours, right?                                         24 more than two hours, nor canceled by United without
   25     A. I don't know how long Mr. Christensen was            25 protection, right?

                                                                                                      20 (Pages 74 - 77)
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                                                         Page 78                                                         Page 80
    1     A. I don't know if that's a complete                      1     Q. Okay. And you did not, in your rebuttal
    2 understanding of it from Mr. Petron's report. He said         2 report, dispute that statement, right?
    3 there may be exceptions to that in the data.                  3     A. I didn't dispute that in my report.
    4     Q. So there is some unknown number of records             4     Q. Okay. And further down, he states that:
    5 where it has eligible for travel credit, but it may           5 "Eligible for travel credit generally means that
    6 not -- that may not be accurate because United systems        6 United did not change the customer's itinerary by two
    7 weren't able to populate that data, right? -- for             7 or more hours or cancel it with no protection,
    8 those records? That's what you're talking about?              8 although that value is also the default for certain
    9     A. I don't know the reason, but they may have             9 itineraries."
   10 been canceled by United.                                     10        Right?
   11     Q. Right. So --                                          11     A. That's not complete. It's for: "...default
   12     A. Or significantly delayed.                             12 itineraries (such as Plaintiff Buffer's) where the
   13     Q. Right. But just to be clear: What Jeff                13 refund eligibility data could not be captured by
   14 Christensen testified was intended by those two              14 United systems, as discussed in paragraph 51."
   15 values. Eligible for travel credit is intended to            15        And paragraph 51 talks about further --
   16 represent records where the coupon -- the customer's         16 again, conversations with Jeff Christensen.
   17 travel was neither disrupted by more than two hours          17     Q. Understood. And what I'm asking you is does
   18 nor canceled by United without protection, right?            18 he state here in paragraph M that "Eligible for travel
   19           MR. KUROWSKI: Objection. Foundation.               19 credit" generally means that United did not change the
   20     A. I'd have to look into Mr. Christensen's               20 customer's itinerary by two or more hours or cancel it
   21 definition again. It is -- in order to answer that or        21 with no protection with certain exceptions that he
   22 I'd have to take that as a representation.                   22 then goes on to discuss?
   23           MS. HEMERYCK: Let's mark this one.                 23     A. Yes. With those exceptions, yes.
   24     Q. (BY MS. HEMERYCK) So, Dr. Malone, I've                24     Q. Okay. So using those definitions of those
   25 handed you what's been marked as Malone Exhibit 6,           25 two values for the refund policy field and putting
                                                         Page 79                                                         Page 81
    1 which is the expert report of Michael Petron dated            1 aside itinerary such as Plaintiff Buffer's where the
    2 April 20th, 2023.                                             2 refund eligibility data could not be captured by
    3           (Exhibit Number 6 marked)                           3 United systems, eligible for travel credit in the
    4    Q. Okay. Are you with me?                                  4 refund policy field could mean that the customer's
    5    A. I'm with you.                                           5 travel was not disrupted at all, right?
    6    Q. All right. If you could turn to page 19 of              6     A. It could mean that.
    7 that document, Malone Exhibit 6.                              7     Q. Or it could mean that it was disrupted but
    8    A. Okay.                                                   8 by some amount less than two hours?
    9    Q. Okay. And if you look at little                         9     A. It could mean that. Maybe it could also
   10 subparagraph M on that page, this is where Mr. Petron        10 mean a cancellation. And so my methodology is
   11 describes the two values that may appear in the              11 adaptable to further data that United may possess or
   12 "Refund Policy" field, right?                                12 have access to to determine whether or not those
   13    A. Yes.                                                   13 flights were significantly disrupted or canceled.
   14    Q. And he states: "Is refundable or eligible              14     Q. And I know you like to make your little
   15 for travel credit."                                          15 speech about more data, more data, more data, but here
   16        Right?                                                16 was my question. Let's see if I can just get a
   17    A. That's correct.                                        17 straight answer to it.
   18    Q. And you agree with that. That's what you               18        It could mean eligible travel -- it could
   19 saw in the data?                                             19 mean that the customer's travel was disrupted by less
   20    A. Yes.                                                   20 than two hours, right?
   21    Q. And he states: "Refundable means that                  21            MR. KUROWSKI: Objection.
   22 United changed the customer's itinerary by two or more       22 Argumentative.
   23 hours or canceled it with no protection."                    23     Q. (BY MS. HEMERYCK) It could mean that,
   24        Do you see that?                                      24 right?
   25    A. I do see that.                                         25     A. I said yes --

                                                                                                         21 (Pages 78 - 81)
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                                                         Page 82                                                       Page 84
    1    Q. Yes.                                                    1    Q. (BY MS. HEMERYCK) Okay. Even if you don't
    2    A. -- it could mean as well as canceled.                   2 know the exact number, are you aware that the ticket
    3    Q. And it could mean that the customer had a               3 data does, in fact, include coupons where the flight
    4 canceled flight, but they are protected, meaning              4 scheduled on departure date has a value of zero, the
    5 United was able to transport them to their                    5 refund policy value is eligible for travel credit, and
    6 destination, right? It could mean that.                       6 there's a coupon status of Unused-FFC?
    7    A. It could.                                               7            MR. KUROWSKI: Objection. Foundation.
    8    Q. And it could mean that the customer                     8    A. I am aware that that could be the case.
    9 voluntarily canceled their itinerary. So there was a          9    Q. (BY MS. HEMERYCK) And just to be clear:
   10 schedule change, but they're not eligible for travel         10 Your understanding is the status of Unused-FFC means
   11 credit because they actually canceled their itinerary.       11 the passengers associated with those coupons did not
   12    A. That could be a situation where it may say,            12 travel on the ticket to which the coupons related,
   13 "Eligible for travel credit."                                13 right?
   14    Q. Okay. Great.                                           14    A. They haven't used the value of that -- that
   15        So now I want you to go back again to Malone          15 travel yet.
   16 Exhibit 5, which is Mr. Petron's rebuttal report.            16    Q. They haven't traveled on those and they
   17        Do you have that in front of you?                     17 haven't exchanged the value, right?
   18    A. I do.                                                  18    A. Yes.
   19    Q.                                                        19    Q. Okay. And so your methodology would include
   20                                                              20 those customers in the proposed class, right?
   21                                                              21    A. A portion of those. You neglected to
   22                                                              22 mention the other filters that I would apply. You
   23                                                              23 only mentioned three criteria. I apply more than
   24        Do you see that?                                      24 that.
   25    A. I do see that.                                         25    Q. Okay. Because you apply the
                                                         Page 83                                                       Page 85
    1     Q.                                                        1 customer-initiated change indicator and the
    2                                                               2 UA-initiated change indicator?
    3                                                               3     A. Yes. In addition, the issue date indicator
    4     A. I don't have a reason to disagree with that.           4 and I also exclude nonmonetary payments in -- from the
    5     Q. Okay. Now, have you done any analysis of               5 refund data and transactions from employees. So to
    6 the coupon statuses of records in the ticket data             6 the extent that they also pass all of those criteria,
    7 where the flight scheduled on departure date has a            7 they would be included until there's further data that
    8 value of zero, but the refund policy value is eligible        8 can exclude them, because they may have canceled their
    9 for travel credit?                                            9 flight prior.
   10     A. I haven't come up with specific counts, and           10     Q. Okay. All right. We're going to try this
   11 my analysis would be limited to those that passed the        11 now. All right.
   12 filter of having either Unused-FFC or Unused-Open in         12           MS. HEMERYCK: Yes, of course, it's not
   13 the coupon statuses.                                         13 going to work. Oh, it worked. Amazing.
   14     Q.                                                       14     Q. (BY MS. HEMERYCK) Okay. So I am now
   15                                                              15 sharing on the screen a native Excel. We're going to
   16                                                              16 mark this virtually, I guess, as Exhibit 7 -- Malone
   17                                                              17 Exhibit 7.
   18                                                              18          (Exhibit Number 7 identified)
   19            MR. KUROWSKI: Objection. Foundation.              19     Q. Dr. Malone, do you recognize Malone
   20            MS. HEMERYCK: I'm asking if he's                  20 Exhibit 7 up on the screen as the Excel spreadsheet
   21 aware.                                                       21 that is Exhibit 2 to your April 20th report?
   22     A. No. That's an oddly specific number to be             22     A. It appears to be that.
   23 aware of, given that I also apply other filters in my        23     Q. And just to be clear: Exhibit 2 to your
   24 analysis. So I would have had to do a lot of                 24 April 20 report, which now has been marked as Malone
   25 iterations to come to that exact number.                     25 Exhibit 7, is the list of record locators that are

                                                                                                        22 (Pages 82 - 85)
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                                                           Page 86                                                        Page 88
    1 included in your preliminary estimate of the class              1 scheduled on departure date column, right?
    2 size, right?                                                    2     A. Yes.
    3    A. That's correct.                                           3     Q. Okay. And they all also have a coupon
    4    Q.                                                           4 status of Unused-FFC, right?
    5                                                                 5     A. Yes.
    6                                                                 6     Q. Okay. And as you have already seen, all
    7                                                                 7 these record locators are in your exhibit to your
    8                                                                 8 class estimate, right?
    9                                                                 9     A. Yes.
   10                                                                10     Q. Okay. Now, the fact that these coupons that
   11    A.                                                          11 we're looking at in Exhibit 8 have a refund policy of
   12    Q.                                                          12 eligible for travel credit means either those
   13                                                                13 customers either canceled their bookings themselves or
   14                                                                14 United offered to reaccommodate them to their
   15                                                                15 destination, but they apparently chose not to accept
   16                                                                16 it because they didn't travel.
   17                                                                17        Do you agree with that?
   18                                                                18     A. No.
   19                                                                19     Q. Okay. So what else could it mean besides
   20                                                                20 those two things?
   21                                                                21     A. It could be one of the situations that
   22                                                                22 Mr. Petron -- or described that United didn't have the
   23                                                                23 data to populate it and defaulted.
   24    Q.                                                          24     Q. Okay. And apart from that, any other
   25                                                                25 explanations other than they either canceled their
                                                           Page 87                                                        Page 89
    1     A. It appears to be.                                        1 bookings themselves or they were offered
    2     Q. Okay. All right. I'm going to push my luck               2 reaccommodation and declined it?
    3 and try one more.                                               3     A. Not that I'm aware of.
    4                                                                 4     Q. Okay. So I want to go back now to Malone
    5                                                                 5 Exhibit 2, which is your -- no, Malone Exhibit 3,
    6                                                                 6 which is -- no, sorry. Malone Exhibit 2, your April
    7     A. Yes.                                                     7 20th report.
    8     Q. Okay. So now I am putting up on the                      8         Okay. And looking specifically at
    9 screen -- this is an Excel document, native Excel.              9 paragraph 16.
   10 We're going to call this one Exhibit 8 -- hold on a            10     A. I'm there.
   11 second.                                                        11     Q. All right. And just to get us all on the
   12          (Exhibit Number 8 identified)                         12 same page, this is, again, a paragraph where you're
   13     Q.                                                         13 talking about your use of the field flight scheduled
   14                                                                14 on departure date in the ticket data, right?
   15                                                                15     A. Yes.
   16                                                                16     Q. Okay. And you state in the second --
   17        And do you see those three numbers I just               17 third-to-last sentence: "My use of this field assumes
   18 read up there on the screen on Exhibit 8?                      18 that if a customer's flight was canceled that they
   19     A. I do.                                                   19 would be rebooked onto another flight between the same
   20     Q. Okay. And scrolling across, looking at the              20 airports on the same day if such flight existed."
   21 refund policy columns, all of these columns have               21         And then in the next sentence you say:
   22 eligible for travel credit as the refund policy value,         22 "However, this may not occur if those alternative
   23 right?                                                         23 flights have no available tickets."
   24     A. That's correct.                                         24         Right?
   25     Q. And they all also have a zero in the flight             25     A. Correct.

                                                                                                           23 (Pages 86 - 89)
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                                                       Page 90                                                        Page 92
    1      Q. So you recognize that by excluding                  1     Q. Okay. And the four that say "canceled, not
    2 coupons -- excluding from your preliminary class size       2 refunded" have a coupon status of Unused-FFC, right?
    3 estimate coupons that had a value of 1 in the flight        3     A. That's correct.
    4 scheduled on departure date field, you are excluding        4     Q. So according to the data we see in
    5 some unknown number of customers who were, in fact,         5 Exhibit 9, those four coupons -- the flights
    6 canceled without protection, right?                         6 associated with those four coupons were canceled and
    7      A. Yes.                                                7 the passengers did not use the value. They did not
    8            MS. HEMERYCK: My computer is going to            8 travel on those coupons, right?
    9 be uncooperative.                                           9     A. Those four coupons, yes.
   10      Q. (BY MS. HEMERYCK) Okay. So I'm going to            10     Q. Okay. But the value for all eight of these
   11 try to share my screen again.                              11 coupons in the flight scheduled on departure date is
   12         Okay. So, Dr. Malone, do you see the Excel         12 1, right? Column Q.
   13 spreadsheet that I put up on the big screen at the         13     A. Yes. Column Q is 1 for all of those.
   14 front of the room now?                                     14     Q. Okay. And so your methodology excludes the
   15      A. Yes, I see it.                                     15 customers associated with these records from the
   16      Q. Okay. And hopefully this looks familiar.           16 potential class, right?
   17 I'll represent to you this is an excerpt, not the          17     A. (No verbal response.)
   18 whole thing, of the Stout combined data table that         18     Q. And we can confirm that, we'll just -- we'll
   19 Mr. Petron provided.                                       19 go back to -- I think this was Exhibit 7. Yeah, we'll
   20         Does it look familiar?                             20 go back to Exhibit 7. All right. And we'll take a
   21      A. The formatting looks familiar.                     21 look.
   22      Q. Okay. Great. And we'll call this Exhibit 9         22
   23 for the record.                                            23
   24           (Exhibit Number 9 identified)                    24     A.
   25      Q. So I want to use this just to look at an           25     Q.
                                                       Page 91                                                        Page 93
    1 example of the phenomenon we were just discussing.          1
    2                                                             2
    3                                                             3
    4                                                             4     A. I wasn't finished reviewing the spreadsheet
    5                                          .                  5 you had up before.
    6       Do you see that?                                      6     Q. Oh, okay. We can go back to it.
    7     A. I see that.                                          7     A. Thank you.
    8     Q. Okay. And if you look across, you have two           8     Q. There you go. So back to Exhibit 9.
    9 passengers, right? -- Passenger 1 and Passenger 2?          9     A. Yeah. I'm sorry. Were you asking me if the
   10     A. Yes.                                                10 customers associated with these are excluded?
   11     Q. And they were traveling from Chicago to             11     Q.
   12 San Francisco on November 25, 2020, returning on           12
   13 December 6, 2020.                                          13
   14       Do you see that?                                     14
   15     A. That looks to be the case.                          15
   16     Q. Okay. Now, all eight of these coupons have          16     A. To the extent that there was never another
   17 a refund policy value of refundable, right?                17 record locator associated with these customers where
   18     A. Yes.                                                18 it would meet the criteria for all my filters, these
   19     Q. Okay. And going across, four of those               19 particular coupons would not be included in my
   20 coupons have a status of used-exchanged under "Coupon      20 estimate.
   21 Status Simple".                                            21     Q. Okay. So let's go to paragraph 17 of Malone
   22     A. Yes, four of them do.                               22 Exhibit 2, if we could. So in paragraph 17, you
   23     Q. Right. And four of them have a Coupon               23 state: "To identify tickets where the purchaser was
   24 Status Simple of canceled, not refunded, right?            24 not issued a refund or where the purchaser has not
   25     A. Yes.                                                25 used the value of their ticket for other travel, you

                                                                                                      24 (Pages 90 - 93)
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                                                        Page 94                                                     Page 96
    1 use the field coupon status in the ticket data."             1     Q. And so there are only three coupon statuses
    2        Do you see that?                                      2 that had the word "canceled" in coupon status simple.
    3      A. Yes.                                                 3 And you can actually find them if you have
    4      Q. Okay. And specifically, you filtered the             4 Mr. Petron's April 20th report, which I think is
    5 data, as explained in paragraph 23 of Malone                 5 Exhibit 6.
    6 Exhibit 2, to limit it to coupons with a coupon status       6     A. I have it.
    7 of Unused-FFC or Unused-Open; is that right?                 7           MR. KUROWSKI: Objection. Foundation.
    8      A. That's correct.                                      8     Q. (BY MS. HEMERYCK) If you look on
    9      Q. So you did not include records that have a           9 paragraph 24 -- I'm sorry -- page 24 of Malone
   10 coupon status of used, right?                               10 Exhibit 6.
   11      A. The coupons that would say "coupon status of        11        Do you see he lists the coupon status fields
   12 used" would not be counted.                                 12 there?
   13      Q. Do you still have in front of you -- I think        13     A. I do.
   14 it's Malone Exhibit 5, which is the rebuttal report of      14     Q. Okay. In Figure 2.
   15 Mr. Petron?                                                 15        I mean, you looked at this -- this data,
   16      A. I do.                                               16 right?
   17      Q. Okay. If you could go to that. And I want           17     A. Yes.
   18 to direct you in particular to Rebuttal Figure 4 at         18     Q. Okay. And I'm not asking you to confirm his
   19 the top of page 23.                                         19 counts, but those -- the coupon statuses that are
   20        Are you there, Dr. Malone?                           20 listed here, those are all the coupon statuses in the
   21      A. I'm there.                                          21 data, right?
   22      Q. Okay. So looking at Rebuttal Figure 4,              22     A. I believe so.
   23 Mr. Petron identified from the OAG data, which I think      23     Q. Okay. And there are only three coupon
   24 you referred to as the "flight files"?                      24 statuses that have the word "canceled" in the coupon
   25      A. I believe so.                                       25 status simple, right?
                                                        Page 95                                                     Page 97
    1    Q.                                                        1     A. Yes.
    2                                                              2     Q. They are canceled-refunded, canceled-not
    3                                                              3 refunded, and canceled-not -- well, I'm sorry. Let's
    4                                                              4 try that again.
    5                                                              5        They are -- I've got to do this a different
    6                                                              6 way.
    7    A.                       .                                7        So they are coupon status of refunded, which
    8    Q.                                                        8 has a coupon status simple of canceled-refunded,
    9                                                              9 right?
   10                                                             10     A. Correct.
   11                                                             11     Q. Okay. And just flipping back to Rebuttal
   12                                                             12 Figure 4 on page 23 --
   13    A.                                                       13     A. Yeah.
   14    Q.                                                       14     Q. -- of Malone Exhibit 5. Yeah, if you want
   15    A.                                                       15 to have those both in front of you at the same time as
   16                                                             16 we do this.
   17    Q.                                                       17     A. Sure.
   18                                                             18     Q. Okay. Rebuttal Figure 4 is limited to
   19                                                             19 nonrefunded tickets, right?
   20                                                             20     A. Yes.
   21    A.                                                       21     Q. Right. So that -- that coupon status of
   22    Q.                                                       22 refunded, which has a coupon status simple of
   23                                                             23 canceled-refunded, those are already excluded from
   24                                                             24 Rebuttal Figure 4 according to Mr. Petron, right?
   25    A.                                                       25     A. Yes.

                                                                                                     25 (Pages 94 - 97)
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                                                        Page 98                                                        Page 100
    1     Q. Okay. And so that leaves two more coupon              1
    2 statuses that have the word "canceled" in them. One          2
    3 is Unused-FFC canceled not refunded, and the other is        3     A. Okay.
    4 Unused-Open canceled not refunded, right?                    4     Q. Okay. So my question for you, Dr. Malone,
    5     A. That's correct.                                       5 is: How do you explain a coupon status of used when
    6     Q. Okay. So that line that says -- in Rebuttal           6 we know that the associated flight -- flights
    7 Figure 4 that says "ad hoc data, canceled coupon             7 associated with that coupon was canceled?
    8 status simple" would include Unused-FFC and                  8            MR. KUROWSKI: Objection. Foundation.
    9 Unused-Open, right?                                          9            Go ahead.
   10     A. Yes.                                                 10     A. I believe tickets can remain open and be
   11     Q.                                                      11 used for other travel. So that's one possibility.
   12                                                             12     Q. (BY MS. HEMERYCK) Wouldn't that have a
   13                                                             13 status of Unused-Open?
   14                                                             14     A. Unused open implies that it hasn't been
   15                                                             15 used.
   16                                                             16     Q. Right. I guess what I'm trying to
   17                                                             17 understand is: You have excluded or not included in
   18                                                             18 your estimate of the class size all coupons that have
   19     A.                                                      19 a status of used, right?
   20     Q.                                                      20     A. Yes.
   21                                                             21     Q. And you did that because you're assuming
   22                                                             22 that the customer used that coupon or its value for
   23                                                             23 travel, right?
   24                                                             24     A. Used that in exchange for another coupon,
   25                                                             25 which could be used for travel. Whether or not that
                                                        Page 99                                                        Page 101
    1                                                              1 coupon was able to be used or if it was subject to be
    2    A. Yes.                                                   2 part of the class is another question.
    3    Q. And, again, that would be the same four                3     Q. I'm sorry. Could you repeat that again,
    4 coupon statuses we just talked about: used,                  4 sir?
    5 exchanged, check, and unavail?                               5     A. So --
    6    A. Yes.                                                   6     Q. Or read it back? Because I didn't
    7    Q. Okay. So now if you can go -- let's flip               7 understand that.
    8 over a page in Malone Exhibit 5 to -- oh, no, that's         8     A. Do you want me to repeat it?
    9 the same page. Bottom of the page, paragraph 50.             9     Q. Sure.
   10            MR. KUROWSKI: Do you mean Petron                 10     A. So used -- if a ticket was not used, they
   11 Exhibit 5?                                                  11 could use it on another flight. So there's a
   12            MS. HEMERYCK: Yes -- well, no, it's              12 possibility that there's another coupon related to
   13 Malone Exhibit 5. It's Petron's report. All the depo        13 this that would not be excluded.
   14 exhibits, I am calling "Malone Exhibit Number."             14     Q. Now, you read Jeff Christensen's deposition
   15    A. Petron's rebuttal report?                             15 testimony, right?
   16    Q. (BY MS. HEMERYCK) Yes. Petron's rebuttal              16     A. I did read it.
   17 report I think is Malone Exhibit 5. So we were              17     Q. And you recall that Mr. Christensen
   18 looking at page 23 which has Rebuttal Figure 4 at the       18 testified that a value of used doesn't necessarily
   19 top. Further down at the bottom of that page is             19 mean the customer traveled, right?
   20 paragraph 50.                                               20            MR. KUROWSKI: Objection. Foundation.
   21       Do you see that?                                      21     A. I recall something of that nature. I don't
   22    A. Yes.                                                  22 recall his whole testimony right now.
   23    Q. Great. And then it carries over to page 24.           23     Q. (BY MS. HEMERYCK) Do you recall he
   24                                                             24 testified, for example, that a used could indicate a
   25                                                             25 split and divide? Do you recall that?

                                                                                                      26 (Pages 98 - 101)
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                                                      Page 102                                                    Page 104
    1           MR. KUROWSKI: Objection. Foundation,          1        "A second scenario is actually one of the
    2 vague.                                                  2 ticket statuses is divided and so, as we talked early
    3     A. I remember him describing to some degree a       3 on in this particular dataset, we do split and
    4 split and divide.                                       4 divides. The ticket status is updated to divided and
    5     Q. (BY MS. HEMERYCK) Okay. And you recall him 5 that's the end of it. I don't know whether or not
    6 testifying that where there's a split and divide, the   6 they flew. I don't have any additional information
    7 data does not disclose what the customer actually did   7 other than the last thing we saw happen here was there
    8 with the coupon after it was split and divided?         8 was a split and divide.
    9           MR. KUROWSKI: Objection. Foundation,          9        "So, again, we believe these customers to
   10 vague.                                                 10 have traveled. Most of the time they have. With the
   11     Q. (BY MS. HEMERYCK) Well, let me make it          11 case of a split and divide, it's a lot. It's
   12 easier for you.                                        12 oftentimes about upgrades, but those show..." -- and
   13        So, Dr. Malone, the court reporter has          13 then we deleted the word "the" in the errata --
   14 handed you what's been marked as Malone Exhibit 10,    14 ".. here."
   15 which is a condensed printout of the transcript of the 15        Do you see all that?
   16 deposition of Jeff Christensen in this case.           16     A. I do see that.
   17           (Exhibit Number 10 marked)                   17     Q.
   18     Q. Do you recognize Malone Exhibit 10?             18
   19     A. I do.                                           19
   20     Q. And if you could turn to page 151 of the        20
   21 transcript. You will see there are four pages per      21
   22 paper page. Okay. And beginning at page 151, line 5,   22
   23 the question was: "Understood. And then, finally,      23     A. That's assuming that when that's split and
   24 what I think is probably the easiest column value,     24 divided that there's not another coupon created that's
   25 which is used. So does that just mean the ticket was   25 associated with that purchaser or a record locator
                                                      Page 103                                                    Page 105
    1 used?"                                                 1 that's associated with that purchaser that could pick
    2         And then Mr. Christensen's answer was: "It     2 them up, if indeed, they didn't travel.
    3 does. There's some scenarios we've got to touch on     3    Q. Right. And -- no, strike that.
    4 real briefly. The preponderance or most of the time    4        And you can't tell that from the data,
    5 they could. They used the value of the ticket. They    5 right?
    6 took their trip. The ticket is or the coupon..." --    6    A. It's difficult to because the passenger
    7 it says "issued," but it was corrected in the errata   7 names were redacted and other identifying information
    8 to "...is used."                                       8 that United may have wasn't included.
    9         Do you see that?                               9    Q. So you would do it by passenger name?
   10     A. I see that.                                    10    A. That's one way that it could be done. It
   11     Q. Okay. Mr. Christensen went on: "There are 11 could also be done by emails of who's purchased or
   12 some scenarios where our system doesn't really know 12 received receipts from the transaction with United,
   13 whether or not it's been used. It's given a status    13 but a passenger name is one way. It doesn't
   14 and most of the time the status would mean used, but 14 necessarily even have to be linked, because if there
   15 we don't 100 percent know. And so, let's get into two 15 are two different coupons, it will pick up the
   16 scenarios."                                           16 passenger where it's appropriate and not pick them up
   17         Line 18: "One of the 260 statuses we have     17 where it isn't.
   18 is" -- it says "checking," but it was corrected to    18    Q. Now, you also excluded, using your
   19 checked in.                                           19 methodology, records with a coupon status of unavail,
   20         "The customers check in for their flight.     20 right?
   21 That's the last thing we see from our data. And when 21     A. Yes.
   22 you check in for a flight, usually you get on the     22    Q. And what was your basis for excluding
   23 flight. And so we're making a leap here, that trip,   23 coupons of that status?
   24 that coupon was indeed used here. So that's one       24    A. The basis was the testimony of Jeff
   25 scenario.                                             25 Christensen.

                                                                                                 27 (Pages 102 - 105)
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                                                        Page 106                                                     Page 108
    1     Q. And specifically, what testimony are you               1 a refund, right?
    2 talking about?                                                2     A. I think -- and beyond that, they could
    3     A. Page 145 to 146 of Mr. Christensen's                   3 provide one and that falls under the -- his previous
    4 testimony.                                                    4 answer that they don't have to do anything with it.
    5     Q. Okay. And --                                           5 It sounds like a closed issue. Or if they didn't fly
    6            (Simultaneous speaking)                            6 and they have credit and they want to apply that
    7     Q. Go ahead. I'm sorry.                                   7 credit towards a new ticket, that's -- that would
    8     A. Specifically, the question was: "Is it                 8 be -- sounds similar to a used of the flight credit
    9 shorthand" -- is shorthand -- I'm sorry. I'm assuming         9 also somebody who I wouldn't incorporate under my
   10 a correction there.                                          10 methodology. Now, that last -- in line 19 and 20,
   11        "Is it shorthand for unavailable in this              11 that: "There may -- there are some instances where
   12 context, essentially that there's no further action          12 that coupon may not be resolved, may not, they may not
   13 that United would need to take on the ticket? Either         13 have used the value." That does say that there could
   14 you can't see the data or, what you said, insurance          14 be some scenario where that's the case.
   15 comes and pays the claim and then United doesn't have        15     Q. All right.
   16 to do anything with it. Is that accurate or am I             16           MS. HEMERYCK: Should we do a quick
   17 missing something?                                           17 break for lunch now since the food is here?
   18        "Typically, that would be true."                      18           Okay, great.
   19        So I didn't include them because it sounds            19           THE COURT REPORTER: We are off the
   20 like the typical case for unavailable is something's         20 record. The time is 12:04 p m.
   21 been done where United's not responsible for a refund.       21           (Off the record)
   22     Q. So did you read the rest of the testimony on          22           THE COURT REPORTER: We are back on the
   23 page 146 after what you just read to me? Did you read        23 record. The time is 12:29 p m.
   24 that before?                                                 24     Q. (BY MS. HEMERYCK) So, Dr. Malone, still
   25     A. Yes.                                                  25 looking at Malone Exhibit 2, which is your April
                                                        Page 107                                                     Page 109
    1     Q. Okay. So just for the record, after the                1 20th report, I want to -- strike that part.
    2 response that you just -- the question that you just          2         So in your April 20 report, you attempted,
    3 read, Mr. Christensen was asked: "Are there any               3 per counsels' guidance as you stated in paragraph 18
    4 instances you can think of where that wouldn't be             4 of the report, to exclude persons who initiated the
    5 true?"                                                        5 changes to their travel, right?
    6         And he answered: "We could run into an                6     A. Yes.
    7 instance where they're on another carrier, and, in            7     Q. Okay. And specifically, you attempted to do
    8 fact, the other carrier didn't provide transportation.        8 this by using the customer-initiated change field and
    9 And the customer wanted a refund and was eligible for         9 the United-initiated change indicator field?
   10 a refund, and we could provide one. Or they didn't           10     A. Yes.
   11 fly and they have credit, and they want to apply that        11     Q. And so you, as set forth in paragraph 23,
   12 credit toward the new ticket. There are some                 12 excluded records where the value in the
   13 instances where, that the coupon may not be resolved,        13 customer-initiated change field was 1?
   14 may not, they may not have used the value."                  14     A. Yes.
   15         Do you see that?                                     15     Q. And you also used the United-initiated
   16     A. Yes.                                                  16 change indicator field by excluding records where the
   17     Q. And going back to paragraph 145,                      17 value in that field was zero, right?
   18 Mr. Christensen started his explanation of "unavail"         18     A. Yes.
   19 by stating: "It's kind of a miscellaneous bucket."           19     Q. Now, you read the deposition of Jeff
   20         Right?                                               20 Christensen as we've established, right?
   21     A. Correct.                                              21     A. Yes.
   22     Q. So based on Mr. Christensen's testimony that          22     Q. So you are aware that Mr. Christensen
   23 I just read that came after the question and answer          23 testified that: "A cancellation of a reservation by a
   24 you read, there could be instances where a customer          24 customer would not be a modification of the
   25 who has a status of unavail is, in fact, eligible for        25 reservation and would, therefore, not be captured by

                                                                                                    28 (Pages 106 - 109)
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                                                    Page 110                                                   Page 112
    1 the customer-initiated change field."                  1     A. I was focusing on ticketed passengers whose
    2        Right?                                          2 itineraries were ultimately canceled by United, who
    3           MR. KUROWSKI: Objection. Foundation. 3 didn't make changes themselves.
    4     A. I saw in his testimony a long hypothetical      4     Q. So if a cancellation of a booking is not a
    5 scenario where he states that even if a customer       5 modification, as Mr. Christensen testified, and,
    6 cancels, it may be reflected as a zero in              6 therefore, would not be reflected as a modification in
    7 customer-initiated change.                             7 the customer-initiated change field, why would you
    8     Q. (BY MS. HEMERYCK) Well, let's look at his 8 assume that the cancellation of a booking by United
    9 testimony, and it's on page 161 of the transcript.     9 would be reflected in the United-initiated change
   10        And on paragraph -- starting at line 14 of     10 field?
   11 page 161 he states: "The key part of it is change.    11     A. I believe the United-initiated change field
   12 Did they change their trip? So if they had a trip     12 was clearly defined in Christensen's testimony as
   13 scheduled and they just canceled it and took a flight 13 being a cancellation by United -- I'm sorry -- a
   14 credit, that would show as zero."                     14 change by United.
   15        Do you see that?                               15     Q. A change but not necessarily cancellation,
   16     A. I see that.                                    16 right?
   17     Q. Okay. So cancellation is not a change in       17           MR. KUROWSKI: Objection. Foundation.
   18 the itinerary according to -- that would be captured  18     A. Well, that would require that the -- that
   19 by this field according to Mr. Christensen, correct?  19 we're also considering another filter that I applied,
   20     A. That appears to be the case.                   20 which is the flight change --
   21     Q. Okay. But that's, nevertheless, the way you 21        Q. (BY MS. HEMERYCK) The flight scheduled on
   22 used the field, right? You assumed that a zero in the 22 departure date?
   23 customer-initiated -- I'm sorry -- that a 1 in the    23     A. -- flight scheduled on departure date too.
   24 customary-initiated change field meant that the       24     Q. Okay. Well, we're not --
   25 customer canceled and that a zero in that field meant 25     A. So all of those have to be -- we can't look
                                                    Page 111                                                   Page 113
    1 the customer did not cancel, right?                     1 at them one at a time because my filters apply them
    2     A. In paragraph 20 of my report, I say that:        2 simultaneously.
    3 "I understand that the field customer-initiated change 3      Q. But let's just stick with this filter for
    4 indicator in the ticket data reflects whether or not    4 now, okay? This field that you identified in
    5 the customer initiated the changes in their itinerary   5 paragraph 20 as the field you used to identify whether
    6 using the binary values of zero or 1."                  6 the itinerary was canceled by United or by the
    7        Above that I say: "I focused on identifying      7 passenger, right?
    8 ticketed passengers whose itineraries ultimately were 8       A. I used it to identify if it was ultimately
    9 canceled by United."                                    9 canceled by United using this field. And for it to be
   10        So I don't see that that's in conflict.         10 canceled, it must also fit the other conditions as
   11     Q. Well, you said in the last sentence of          11 well.
   12 that -- or second-to-last sentence of that             12     Q. Okay. But we can agree that, based on
   13 paragraph 20 that you just read that: "A value of      13 Mr. Christensen's testimony, a value of 1 in the --
   14 zero in the customary-initiated change indicator field 14 UA-initiated change field cannot be -- is not reliable
   15 indicates that a customer did not initiate the         15 to identify itineraries that United canceled, right?
   16 changes."                                              16           MR. KUROWSKI: Objection. Vague, legal
   17        Right?                                          17 conclusion, reliability.
   18     A. Yes.                                            18     A. I need to take a moment to review something,
   19     Q. And you said: "I used this field to exclude     19 please.
   20 persons who initiated the changes to their travel."    20        So when I consider both the testimony of
   21        Right?                                          21 Christensen starting on page 161 and the flight
   22     A. Yes.                                            22 scheduled on departure date variable, together they
   23     Q. And the changes you were talking about, in      23 can initiate a -- inform us whether or not United
   24 particular, were cancellations, because you were       24 decided not to operate a flight. So on 161, line 19,
   25 focusing on cancellations, right?                      25 we have a question: "Okay. And same general

                                                                                              29 (Pages 110 - 113)
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                                                      Page 114                                                       Page 116
    1 scenario, but if United canceled the flight for any         1 about using the field customer-initiated change
    2 reason, that would then populate in column T" -- I'm        2 indicator, right?
    3 sorry -- "in the T column as a 1; is that correct?"         3     A. Yes. Among others.
    4        The answer by Mr. Christensen: "So the               4     Q. No. Actually, that's the only one that's
    5 customer had a flight scheduled, United decided not to      5 referred to in the body of that paragraph, right?
    6 operate or, you know, they didn't have service to the       6     A. The body that -- yeah.
    7 city on the date, or whatever it might've been, yes.        7     Q. Okay.
    8 We would see United go in and our systems would try to      8     A. In the body of the text.
    9 get them rebooked somewhere, and we should add a 1,         9     Q. Yes. And then you have a Footnote 16, where
   10 United making a change to that trip."                      10 you say: "I also use the field UA-initiated change
   11        So the flight scheduled departure date also         11 indicator to further exclude changes that were not
   12 is covered in his testimony as another variable that       12 initiated by United Airlines. I did this by only
   13 we had to consider at the same time. We can't just         13 including records where 'UA INIT CHG IND' was 1."
   14 look at that variable by itself as you're asking me        14        Right?
   15 to.                                                        15     A. That's true.
   16     Q. (BY MS. HEMERYCK) Okay. But just to be              16     Q. Okay. So you relied first on the
   17 clear: Paragraph 20, you're not -- you are only            17 customer-initiated change indicator field and then you
   18 talking about the fields of customer-initiated change      18 used the UA-initiated change indicator field to
   19 indicator and UA-initiated change indicator, right?        19 further exclude changes, right? That's what you
   20     A. Well, I'm writing a report describing the           20 wrote?
   21 conditions that have to be fit where all the following     21     A. That's what I wrote. Operationally, they
   22 are true. And that marginal condition, when added to       22 have to both -- neither has more importance than the
   23 the flight scheduled on departure date, tells me those     23 other in the database operations I wrote.
   24 itineraries that were ultimately canceled by United.       24     Q. Now, you referred to -- you referred also in
   25     Q. Dr. Malone, paragraph 20 does not refer to          25 your testimony, though, again, not in paragraph 20 of
                                                      Page 115                                                       Page 117
    1 the flight scheduled on departure date field, right?        1 your report, to the flight scheduled on departure date
    2     A. No. But it's part of a section describing            2 field, right?
    3 my methodology where the criteria I use is combined         3     A. I have.
    4 with that.                                                  4     Q. And you stated that you can use the
    5     Q. It's not mentioned under the heading                 5 combination of the values in the UA-initiated change
    6 "Exclusion Based on Cause of Travel Changes," is it?        6 indicator field and the -- a zero in the flight
    7     A. It's not under that heading, no.                     7 scheduled on departure date field to determine whether
    8     Q. Right. I'd also note that, as the report is          8 or not the customer's booking was canceled by United
    9 written, you primarily, looking at paragraph 20,            9 or the customer, right?
   10 relied on the customer-initiated change indicator          10     A. That would indicate whether it was
   11 field to exclude coupons based on the cause of travel      11 ultimately canceled by United.
   12 changes, and you only cited the UA-initiated change        12     Q. Where -- whether what was ultimately
   13 indicator in a footnote, right?                            13 canceled?
   14           MR. KUROWSKI: Objection. Vague,                  14     A. Whether the flight that they were -- had on
   15 compound.                                                  15 their itinerary was ultimately canceled by United or
   16     A. I'm sorry. What's the question you would            16 not. A combination of those two.
   17 like me to answer?                                         17     Q. So you can tell -- I understand that you
   18           MS. HEMERYCK: Can you read it back?              18 could tell from the combination of those two whether
   19          (Requested question was read)                     19 United canceled the flight reflected in the coupon,
   20     Q. (BY MS. HEMERYCK) Let me rephrase the               20 right?
   21 question.                                                  21     A. Yes.
   22        So under the heading "Exclusion Based on            22     Q. But you can't determine from the combination
   23 Cause of Travel Changes," we have paragraph 20, right?     23 of those two data fields whether the itinerary was
   24     A. Yes.                                                24 canceled, right?
   25     Q. And in the body of that paragraph, you talk         25     A. Are you talking about the itinerary being

                                                                                                    30 (Pages 114 - 117)
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                                                      Page 118                                                   Page 120
    1 canceled by the customer?                               1           Go ahead.
    2     Q. I'm just talking about the itinerary being       2      A. From my knowledge of the data, I don't think
    3 canceled, period.                                       3 that I can tell that with what's been produced. I
    4     A. I don't know exactly how to answer that          4 don't know what customers were offered or what they
    5 question, but what I can say is that it would indicate  5 denied.
    6 that the flight on the coupon was canceled ultimately 6        Q. (BY MS. HEMERYCK) Now, you understand that
    7 by United --                                            7 the ticket data that was produced to you that you
    8     Q. And --                                           8 reviewed included information about Plaintiff Jason
    9             (Simultaneous speaking)                     9 Buffer's itinerary, right?
   10     A. -- the whole itinerary.                         10      A. I was aware of that from Petron's report
   11     Q. And you don't know -- you can't tell from       11 that looked at data from Plaintiff Buffer's records.
   12 these data fields whether the customer may have        12      Q. Okay. And the information about Plaintiff
   13 canceled their itinerary before United canceled that 13 Jason Buffer's itinerary that's contained in the
   14 flight?                                                14 ticket data confirms that the customer-initiated
   15     A. No, I can't. And it's very possible that        15 change field and the United-initiated change field
   16 they didn't. It's possible that they did, and that's   16 cannot be used to accurately determine who canceled an
   17 why they're included in my estimate of the class. And 17 itinerary, doesn't it?
   18 until United produces other data that could tell me    18      A. I don't know that I agree with that.
   19 whether or not the customer canceled their itinerary 19        Q. Okay. Well, let's look at that data.
   20 or not, I can't pull them out.                         20           MS. HEMERYCK: Might have to put it
   21     Q. And you don't have any idea what that other 21 back up.
   22 data would be, do you?                                 22      Q (BY MS. HEMERYCK) Okay. So I've put it up
   23     A. No. But under the course of regular             23 on the screen, just might be a little bit easier to
   24 business, I assume that if I were to book a trip with 24 see. But if you turn in Malone Exhibit -- I believe
   25 United and cancel it, that they are recording that     25 it's Malone Exhibit 6, which is the April 20 expert
                                                      Page 119                                                   Page 121
    1 somewhere to know to not allow me to go through             1 report of Michael Petron.
    2 security, not allow me to check in for a flight. It         2     A. Okay.
    3 would be a security risk if that data were out there.       3     Q. And if you turn specifically to Exhibit 5A,
    4        So it's hard for me to comprehend that               4 that -- that exhibit shows the ad hoc itinerary and
    5 United Airlines doesn't know if a customer canceled         5 refund data detail for Plaintiff Jason Buffer's
    6 their flight or not.                                        6 itinerary, right?
    7     Q. Okay. So --                                          7     A. Yes.
    8            (Simultaneous speaking)                          8     Q. Okay. And you understand that Plaintiff
    9     Q. So your assumption is that United has the            9 Buffer did not cancel his own booking, right?
   10 ability to run some -- you know, to look at its data       10     A. I understand that, yes.
   11 and its specific passenger record for Sean T. Malone       11     Q. Okay. Do you understand his flights were
   12 and his particular booking and ascertain what              12 canceled by the operating carrier?
   13 ultimately happened with that booking, right? That's       13     A. I believe I understand it was Swiss Air.
   14 your assumption?                                           14     Q. Yeah. But if you look at Exhibit 5A of
   15     A. Yes. It may not be in this data produced,           15 Mr. Petron's April 20 report, you will see that for
   16 but that's my assumption.                                  16 all four of the coupons shown here for Mr. Buffer it
   17     Q. Okay. And that you also cannot tell from            17 shows a 1 under customer-initiated change indicator
   18 even the combination of the flight scheduled on            18 and a zero under United-initiated change indicator,
   19 departure date field and the UA-initiated change           19 right?
   20 indicator field whether when a particular flight           20     A. That's correct.
   21 associated with a coupon was canceled the customer was     21     Q. So by your methodology, the 1 under
   22 offered rerouting by United and said, No, thanks. I        22 customer-initiated change indicator would have
   23 don't want to take the trip after all. I'll just take      23 excluded Plaintiff Buffer from your estimated class,
   24 the travel credit. You can't tell that, right?             24 right?
   25            MR. KUROWSKI: Objection. Foundation.            25     A. My methodology looks at both of these,

                                                                                                 31 (Pages 118 - 121)
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                                                       Page 122                                                      Page 124
    1 including the UA-initiated change indicator. Here            1 be zero. And then correctly applying my methodology,
    2 it's marked as zero, but I believe the possible              2 he may not be excluded using just those two fields.
    3 explanation for this is -- lies in Jeff Christensen's        3     Q. (BY MS. HEMERYCK) Okay. Let's look again
    4 testimony since United was a plating carrier for             4 at paragraph 20.
    5 Plaintiff Buffer's tickets or itinerary.                     5     A. Sure.
    6 Mr. Christensen testified that United would be the           6     Q. Paragraph 20, the text of paragraph 20,
    7 responsible party or what they call "the plating             7 second sentence: "I understand that the field
    8 carrier." And so the fact that he didn't label a             8 customer-initiated change indicator in the ticket data
    9 flight that was canceled by Swiss Air when United was        9 reflects whether or not the customer initiated the
   10 the plating carrier appears to be a mistake and             10 changes in their itinerary using the binary values of
   11 exactly the type of data that United appears to have        11 zero or 1."
   12 but didn't produce correctly in this case.                  12        That's what your report says, right?
   13      Q. So let's see if we can try to get my actual         13     A. Yes.
   14 question answered.                                          14     Q. And then the next sentence: "A value of 1
   15           MS. HEMERYCK: Can you read my                     15 indicates a customer initiated the changes."
   16 question, please?                                           16        That's what your report says, right?
   17           MR. KUROWSKI: Objection.                          17     A. Yes. "The changes" are talking about the
   18 Argumentative.                                              18 change -- the critical changes which would be the
   19          (Requested question was read)                      19 first changes here.
   20      Q. (BY MS. HEMERYCK) Can you answer that               20     Q. That's not exactly what it says --
   21 question?                                                   21     A. You can't --
   22      A. Yes. So my methodology is taking data               22     Q. -- here in your report, is it?
   23 produced by United and uses this definition                 23     A. You can't have both of these as equal to 1.
   24 United-initiated change where changes were initiated        24     Q. All right. Can I read the next sentence,
   25 by United Airlines. But here, that's not really the         25 please?
                                                       Page 123                                                      Page 125
    1 case, because Swiss Air was operating this flight, but       1     A. Sure.
    2 it appears that United Airlines was a plating carrier        2     Q. The next sentence in your report says: "A
    3 and responsible. So that means that this should be a         3 value of zero indicates that a customer did not
    4 1.                                                           4 initiate the changes."
    5     Q. Let's try it one more time because you still          5        Right?
    6 haven't answered my question. And I understand you           6     A. Yes.
    7 want to give your little speech. That's great, but I         7     Q. "I used this field," singular, "to exclude
    8 would like an answer to my question.                         8 persons who initiated the changes to their travel."
    9        My question is: The fact that there is a 1            9        That's what you wrote, right?
   10 in the customer-initiated change indicator field for        10     A. Yes.
   11 all four of the Plaintiff Buffer coupons means that         11     Q. So a value of 1 in the customer initiated
   12 using your methodology Plaintiff Buffer would be            12 change indicator field means the person is excluded
   13 excluded from the class, right?                             13 from your estimated class, right?
   14           MR. KUROWSKI: Objection.                          14     A. This particular reservation would be
   15 Argumentative, asked and answered.                          15 excluded from my preliminary estimates, and it may
   16     A. I realize --                                         16 change if the UA-initiated change indicator were to
   17           MR. KUROWSKI: Hold on.                            17 change as well.
   18           Asked and answered.                               18        My methodology isn't specific to this set of
   19           You may go ahead.                                 19 data. It's specific to what these fields are to
   20     A. I realize you're asking about the                    20 represent and applying those filters to the correct
   21 customer-initiated change and not UA-initiated change,      21 most up-to-date data that's -- that's available.
   22 but those are interrelated because it looks at which        22     Q. And just to be clear: You didn't actually
   23 change occurred first. And so if United-initiated           23 look in the ticket data for the information relating
   24 change occurred before as it's -- whether it were 1s        24 to Plaintiff Buffer when you were preparing either of
   25 here under Plaintiff Buffer's case, those would likely      25 your reports, did you?

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                                                     Page 126                                                       Page 128
    1     A. Only to the extent that Mr. Petron cited it         1 a mix of coupon statuses? So, for example, if you had
    2 as an example for, I believe, unavail field.               2 a record locator that included some coupons of the
    3     Q. Okay. So in your -- and that would have             3 status of exchanged and some coupons of the status
    4 been after your opening report, right?                     4 Unused-FFC?
    5     A. Yes.                                                5         Assuming the ones that said "Unused-FFC" met
    6     Q. So at least for purposes of your April 20th         6 the other criteria for included?
    7 report where you were developing your methodology, you     7     A. Yeah. So if any of the coupons in that
    8 did not look in the ticket data at the information         8 record locator met all the criteria, that record
    9 relating to Plaintiff Buffer, right?                       9 locator would be counted.
   10     A. I did not.                                         10     Q. Now, you suggest -- turn to -- scratch that.
   11     Q. That information was certainly available to        11         Turn to paragraph 26 of your April 20th
   12 you, wasn't it?                                           12 report, which is Malone Exhibit 2.
   13     A. I didn't ask for it because it wasn't -- it        13     A. Okay.
   14 was outside the scope of my assignment to estimate the    14     Q. Okay. Now, you suggest in this paragraph,
   15 preliminary class size and to develop a method to         15 paragraph 26, that the departure and arrival airport
   16 identify class members. I wasn't asked to identify        16 codes in the ticket data could be used to exclude
   17 Plaintiff Buffer's data.                                  17 itineraries or portions of itineraries on which
   18     Q. And just so the record is clear: You also,         18 passengers departing for the United States would have
   19 in arriving at the opinions reflected in your             19 been prohibited from traveling due to travel
   20 April 20th report, did not look in the ticket data at     20 restrictions in place at that time, right?
   21 the information relating to Plaintiff Mark Hansen,        21     A. That's correct.
   22 right?                                                    22     Q. Did you suggest that?
   23     A. I did not.                                         23     A. I suggested that that could allow for other
   24     Q. So let's look at paragraph 24 of                   24 filtering.
   25 Exhibit 5 -- no, sorry. I lied. Malone Exhibit 2.         25     Q. Okay. Did you make any attempt to do that?
                                                     Page 127                                                       Page 129
    1 We're still on your April 20th report. So paragraph        1    A. No. It was outside the scope of my
    2 24, let me know when you're there.                         2 assignment. It wasn't -- either the instructions or
    3     A. I'm there.                                          3 the class definition.
    4     Q. All right. You state in paragraph 24: "I            4    Q. Are you aware of any documentation that's
    5 estimated the number of class members based on a           5 been produced in this case regarding travel
    6 unique number of record locators associated with the       6 restrictions that would allow you to engage in that
    7 tickets that meet the criteria described above."           7 exercise?
    8        Right?                                              8    A. I am not aware of any that have been
    9     A. Yes.                                                9 produced. I certainly haven't been provided any.
   10     Q. Okay. And you applied the methodology that         10    Q. Did you ask plaintiffs' counsel for
   11 you describe in your April 20th report at the coupon      11 documentation regarding border closures or other
   12 level, right?                                             12 travel restrictions?
   13     A. Yes.                                               13    A. No.
   14     Q. Okay. How did you determine the unique             14    Q. So basically you're speculating in
   15 number of record locators?                                15 paragraph 26 that this additional filtering could be
   16     A. I used the SQL keyword "SELECT DISTINCT."          16 done, but you don't actually know, right?
   17     Q. Say it again.                                      17           MR. KUROWSKI: Objection. Vague.
   18     A. I used the SQL keyword "SELECT DISTINCT."          18    A. It wouldn't be a large -- a terribly large
   19     Q. Can you explain that in plain English?             19 supplemental dataset to do this. Really, we're just
   20     A. I asked it to find a unique list of record         20 looking at the period of time. So we're looking at
   21 locators.                                                 21 dates and countries where travel would be restricted.
   22     Q. That were associated with the coupons that         22 So it's not really a large dataset that would need to
   23 were left after you did all your filtering?               23 be compiled whether it was produced or could be
   24     A. Correct.                                           24 produced or whether it's something that could be
   25     Q. How did you handle record locators that had        25 obtained independently through the State Department,

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                                                        Page 130                                                       Page 132
    1 for example, or another government agency, seems like         1 excluded by your methodology because you had to
    2 it could definitely be possible. So, I mean, it's an          2 have -- one of the criteria to be included is you have
    3 informed opinion that it is possible to do.                   3 to have a zero in that column, right?
    4     Q. (BY MS. HEMERYCK) So adding that                       4     A. Yeah.
    5 restriction to exclude itineraries or portions of             5     Q. And so that leaves three coupons. One is
    6 itineraries on which passengers departed from the             6 the flight from DEN, which is Denver, to YVR, which is
    7 United States would have been prohibited from                 7 Vancouver, Canada, on April 5, 2020, right?
    8 traveling due to travel restrictions in place at the          8     A. Okay.
    9 time, doing that would result in excluding Plaintiff          9     Q. Then there is a coupon for travel from IAH,
   10 Hansen from the proposed class, wouldn't it?                 10 which is Houston, Texas, to Liberia, Costa Rica, which
   11     A. I don't know.                                         11 is LIR on March 29, 2020, right?
   12     Q. Well, let's take a look. Can you -- just a            12     A. Okay.
   13 minute. I think we are going to need the screen.             13     Q. And then the next coupon, which is the
   14         So if you could go to -- I think it's Malone         14 coupon for travel from Liberia, Costa Rica, to Houston
   15 Exhibit 5. It's either 5 or 6, the expert report of          15 on April 4, 2020.
   16 Michael Petron, not the rebuttal report.                     16        Do you see that?
   17             MR. KUROWSKI: 5?                                 17     A. Yes.
   18             MS. HEMERYCK: Yeah, it's 6, Malone               18     Q. And now are you aware that the judge in this
   19 Exhibit 6, and we're going to go to Exhibit 5B. I'm          19 case has already recognized that Hansen would have
   20 also going to show it on the screen because this one         20 been prohibited from traveling between the US and
   21 is a little bit hard to see.                                 21 Costa Rica on March 29 and April 4 because of Costa
   22     Q. (BY MS. HEMERYCK) Let me know when you're             22 Rica's border closure?
   23 there.                                                       23     A. I am not aware of that decision.
   24     A. I'm sorry. This is Exhibit 5?                         24     Q. Okay. I represent to you that he has. So
   25     Q. Malone Exhibit 6.                                     25 accept that representation for this purpose.
                                                        Page 131                                                       Page 133
    1     A. Oh, it's Exhibit 6, sorry.                             1        And so that leaves just the coupon for
    2     Q. That's okay. I think I was a little                    2 travel from Denver to Vancouver on April 5, 2020, if
    3 unclear.                                                      3 you accept my representation, right?
    4     A. And which exhibit in that report?                      4    A. Yes.
    5     Q. 5B.                                                    5    Q. And are you aware that on March 20, 2020,
    6     A. Thank you.                                             6 Canada banned all nonessential travel to Canada from
    7     Q. So for the record, Exhibit B is an excerpt             7 the United States?
    8 from the -- what you refer to as "the Ticket Data" and        8    A. I am not aware of that specific date.
    9 what Mr. Petron refers to as "the Ad Hoc Itinerary and        9    Q. Okay. But if that were the case, then the
   10 Refund Data" that shows the detail for Plaintiff Mark        10 portion of Plaintiff Hansen's itinerary that had him
   11 Hansen's itinerary.                                          11 flying from Denver to Vancouver on April 5, 2020, so
   12         Do you see that?                                     12 flying from the United States to Canada, would also be
   13     A. I do.                                                 13 excluded by the restriction you suggest in
   14     Q. Okay. And do you see it includes five                 14 paragraph 26, wouldn't it?
   15 coupons, right?                                              15           MR. KUROWSKI: Objection. Vague,
   16     A. Yes.                                                  16 foundation.
   17     Q. And now two of those coupons -- and I can             17    A. I think if you assume several things. Of
   18 make this a little bit easier to see on the screen           18 course, I'm accepting those representations. Two that
   19 here. At least I think I can.                                19 the class definitions refined to exclude these
   20         Okay. Two of those coupons, the one in the           20 individuals, yes, I could refine my methodology that
   21 first row and the one in the last row, have a value in       21 would result in these particular cases that would not
   22 the flight scheduled on departure date column of 1,          22 be included.
   23 right?                                                       23    Q. (BY MS. HEMERYCK) Okay. So at long last,
   24     A. That's correct.                                       24 Dr. Malone, we are going to get to your rebuttal
   25     Q. And so those two coupons, they would be               25 report.

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                                                      Page 134                                                    Page 136
    1     A. Okay.                                           1 some point. It may have been used for a -- associated
    2     Q. So go to Malone Exhibit 3.                      2 to a different coupon, but that different coupon may
    3           MS. HEMERYCK: I'm going to stop              3 be associated with the same purchaser or passenger.
    4 sharing here. Okay.                                    4 So by not eliminating the used-used doesn't
    5     Q. (BY MS. HEMERYCK) So I'm starting with 5 necessarily -- used-used doesn't mean that they
    6 paragraph 6, on page -- it doesn't have a page number 6 traveled on that flight, but it doesn't mean that they
    7 for some reason. Paragraph 6 of your rebuttal report. 7 didn't exchange it for something else as in the split
    8     A. I am there.                                     8 and divide we talked about earlier.
    9     Q. Okay. Great.                                    9     Q. Mr. Petron didn't describe a method in
   10        So in Bullet 2 of paragraph 6 of Malone        10 either of his reports that could be applied to the
   11 Exhibit 3, you state: "Mr. Petron has described       11 produced datasets for determining what happened, for
   12 methods that can be applied to the data to reasonably 12 example, with a split and divide, right?
   13 determine if the majority of coupons purchased by     13     A. I don't think he explicitly described a
   14 potential class members are eligible for refunds."    14 method to determine what happened with the split and
   15        Do you see that?                               15 divide, no.
   16     A. Yes.                                           16     Q. Did Mr. Petron describe a method that could
   17     Q. Okay. So did Mr. Petron describe a method 17 be applied to the produced datasets to determine, for
   18 that could be applied to the produced datasets to     18 customers who had an advanced schedule change that
   19 determine -- for customers who had a canceled or      19 disrupted their travel by two or more hours, the
   20 significantly changed flight -- the reason why the    20 actual difference in the departure date and time
   21 flight was canceled or significantly changed?         21 between the original itinerary and the changed
   22     A. I don't believe he described the reason why    22 itinerary?
   23 the flights were canceled or significantly delayed -- 23     A. Not the actual difference.
   24 changed.                                              24     Q. So can you look now -- still in Malone
   25     Q. Did Mr. Petron describe a method that could 25 Exhibit 3, could you look at paragraph 9?
                                                      Page 135                                                    Page 137
    1 be applied to the produced datasets to determine            1     A. Yes.
    2 whether a customer who has not received a refund            2     Q. Okay. In the first sentence of that
    3 requested one?                                              3 paragraph you state: "As part of my responsibility at
    4    A. No. He only uses the refund policy as                 4 Analytic Focus, LLC, I regularly deal with both the
    5 refundable, which would indicate that they weren't the      5 creation and analysis of databases."
    6 one who initiated it, but not whether or not they           6        Right?
    7 requested a refund.                                         7     A. Correct.
    8    Q. Okay. Did Mr. Petron describe a method that           8     Q. And you go on to say: "Often, when we
    9 could be applied to the produced datasets to determine      9 create databases, there are individual records that
   10 whether a customer who had a canceled flight but where     10 must be manually reviewed."
   11 the status of the associated coupon is used-used           11        Right?
   12 actually traveled?                                         12     A. That's correct.
   13    A. I'm sorry. Could you repeat that? It                 13     Q. And then in the next paragraph, 10, you give
   14 just --                                                    14 an example, right?
   15    Q. I can.                                               15        Specifically, you refer to the Healey vs.
   16    A. Thank you.                                           16 Jefferson County Kentucky Louisville Metro Government
   17    Q. It was a little long. Let me try it again.           17 case in the Western District of Kentucky?
   18    A. Yeah.                                                18     A. Specifically, that's -- that's an example of
   19    Q. Okay. Did Mr. Petron describe a method that          19 creating a process that can create systematic
   20 could be applied to the produced datasets to determine     20 efficient reliable manual reviews. It's evidence of
   21 whether a customer who had a canceled flight but where     21 that being accepted.
   22 the coupon status associated with that flight is           22     Q. Okay. That case did involve or does involve
   23 used-used actually traveled?                               23 individual records that must be manually reviewed,
   24    A. I think I disagree because the coupon status         24 right?
   25 used-used means that that value was used for travel at     25     A. Yes.

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    1    Q. Okay. Are there other examples you've                   1 What are examples of the different kinds of
    2 worked on, other matters you've worked on, litigation         2 procedures?
    3 matters specifically that involved the creation of a          3     A. So for -- in the example I just gave you for
    4 database using -- or based on individual records that         4 the Grande Vista matter, what was at issue was whether
    5 must be manually reviewed?                                    5 or not a specific entity was involved in the brokerage
    6    A. Yes.                                                    6 of the real estate asset and so there were two
    7    Q. Can you give me an example other than the               7 objective criteria.
    8 Healey case?                                                  8        One was evaluating whether or not the
    9    A. Sure. It's the case in Exhibit 1 to Malone              9 addresses of both the buyers and sellers were
   10 Exhibit 3.                                                   10 addresses associated with that entity. And then the
   11    Q. Oh, Grande --                                          11 second was the -- whether the return to or the
   12    A. Grande Vista.                                          12 completed by was associated with that entity.
   13    Q. Grande Vista, okay. And what types of                  13        So that process was to basically provide
   14 records are being -- individual records are being            14 instructions to the reviewer what exactly to look for
   15 manually reviewed in the Grande Vista case?                  15 and how to objectively determine whether or not it
   16    A. Deeds to real estate transactions. And I               16 fits that criteria or not. And that's a result of
   17 created a database resulting from that manual review.        17 what was input into the database.
   18    Q. Got it. How many records are involved in               18        And another case that is described in
   19 the Grande Vista manual review of deeds to real estate       19 paragraph 10, the process is different because that
   20 transactions?                                                20 matter involves a county Department of Corrections.
   21    A. That particular one was a small sample of              21 And so we're extracting data from different types of
   22 500.                                                         22 records, whether they're jail records or emails or
   23    Q. Was that the total population, or was it a             23 court orders. And depending on what exact objective
   24 sample of a larger population?                               24 criteria must be applied to each set, there will be a
   25    A. It was a sample of sales for a timeshare               25 different process for the reviewers to know what to
                                                        Page 139                                                       Page 141
    1 resort, and the sample was based on time period.        1 look for and how to evaluate it. So it's very case
    2    Q. And what was the purpose of that review and 2 specific.
    3 creation of a database?                                 3     Q. So you've used a couple of times the word
    4    A. It was to review each deed and apply an           4 "reviewers" in talking about these procedures.
    5 objective criteria as to -- to answer a question and    5 "Reviewers" here are people, right?
    6 that was done for each deed in the 500.                 6     A. Yes.
    7    Q. Was the purpose to estimate a size of a           7     Q. Right. So actual human beings who are
    8 potential class?                                        8 tasked with manually reviewing individual records and
    9    A. Not in that case.                                 9 identifying the particular data points that the
   10    Q. Okay. I assume, then, it's also true that        10 training, for example, tells them to look for, right?
   11 that review was not for the purpose of identifying     11     A. Yes.
   12 members of a class or a potential class?               12     Q. Okay. So in the Grande Vista case, how many
   13    A. No, that's a correct assumption.                 13 reviewers were involved in reviewing that sample of
   14    Q. Okay. There were a lot of negatives in that      14 500 real estate transaction -- real estate deeds?
   15 question.                                              15     A. In that particular case, it was just me.
   16        In the next sentence, you state: "We            16     Q. Okay.
   17 develop different procedures..." -- I'm sorry. I'm     17     A. A compressed time frame.
   18 back in paragraph 9. In the next sentence of           18     Q. How about in Healey? How many people are
   19 paragraph 9, you state: "We develop different          19 involved in reviewing those records?
   20 procedures used for reviewing individual records in 20        A. I'd say in excess of five.
   21 our in-house data collection software."                21     Q. Are they all employees of Analytic Focus?
   22        Right?                                          22     A. Generally, yes.
   23    A. Yes.                                             23     Q. Have you ever developed a manual review
   24    Q. Can you tell me a little more about what you 24 process like this where outside contract reviewers
   25 mean by -- what are the different kinds of procedures? 25 were used?

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                                                       Page 142                                                      Page 144
    1    A. I don't believe in the matter we're working       1 used in the Healey case could be used in this case to
    2 on right now that we've used contracts. I say           2 review emails sent to the United refunds team and
    3 generally because we had turnovers, so they're not all 3 determine if the individual requested a refund for an
    4 employed by Analytic Focus currently.                   4 unused ticket."
    5    Q. So some of them were and then they have left 5              Right?
    6 Analytic Focus, but they're still acting as reviewers?  6     A. It's kind of beyond the Healey case. It's
    7    A. No.                                               7 more my experience in reviewing -- creating databases
    8    Q. Okay. So once they leave, then --                 8 that are reliable from a manual review of documents,
    9    A. Yeah.                                             9 so it's broader than that.
   10    Q. Okay.                                            10         The Healey case is just an example where
   11    A. We have reviewers that are no longer             11 plaintiffs and defendants have agreed that the job we
   12 employees.                                             12 do at Analytic Focus produces something reliable for
   13    Q. Got it. Okay. So they're former reviewers,       13 class membership.
   14 basically?                                             14     Q. Okay. But your opinion in paragraph 33 is
   15    A. Yeah.                                            15 based, in part, on your experience in the Healey case,
   16    Q. Okay. All right. So let's talk about the         16 right?
   17 Healey case.                                           17     A. In part.
   18       What's your role in that work?                   18     Q. So going back to paragraph 32, you reference
   19    A. I'm not a testifying expert, but I am            19 "Training materials to manually review scans of paper
   20 supporting the work of Dr. Cowan. Dr. Cowan and 20 documents and email attachments," right?
   21 Analytic Focus, as shown in Exhibit 2 to this          21     A. Yes.
   22 particular exhibit here, have been appointed a role to 22     Q. Were you involved in designing those
   23 create this database on behalf of both parties in this 23 training materials?
   24 particular case. So I work a lot in creating some of   24     A. For some of the processes.
   25 these processes, creating some of the processes for    25     Q. Which processes?
                                                       Page 143                                                      Page 145
    1 quality control and making sure the inputs by                1      A. So for this particular matter, there was a
    2 reviewers are accurate and reliable. So broadly I            2 number of them depending on what types of information
    3 have some oversight but not the ultimate oversight in        3 are being extracted from documents. So there might be
    4 this project.                                                4 a process for a certain type of court order. There
    5    Q. Okay. So let's look at paragraph 32 of                 5 might be a different process for looking at the
    6 Malone Exhibit 3.                                            6 reports the jail prints out before they release an
    7        So you state in this paragraph: "I am on a            7 individual. There might be a different process for
    8 small team responsible for, one, designing training          8 reviewing emails.
    9 materials to manually review scans of paper documents        9         And so there's a number of them, and it's
   10 and email attachments; two, designing custom data           10 highly dependent on the data specific to the case that
   11 entry software to collect (and ensure accuracy of)          11 it's being applied to. So here in Healey v. Metro.
   12 data points relevant to class membership into a             12      Q. And do you know which of the training
   13 database; and, three, to combine and analyze the            13 materials for which process you specifically were
   14 collected data and export the results into another          14 involved in designing?
   15 database used to determine class membership in a class      15      A. Most of the training materials would have
   16 action being litigated in the Western District of           16 been assigned further in the past. I don't know --
   17 Kentucky."                                                  17 recall exactly which forms I would have been the lead
   18        Do you see that?                                     18 one drafting.
   19    A. I do.                                                 19      Q. Okay. But you're familiar with all the
   20    Q. And that case in the Western District of              20 training materials?
   21 Kentucky is the Healey vs. Jefferson County Kentucky        21      A. Broadly.
   22 Louisville Metro government, right?                         22      Q. Okay. And has the manual review in the
   23    A. That's correct.                                       23 Healey case using those training materials started?
   24    Q. Okay. And in paragraph 33 of your rebuttal            24      A. The manual review has started, but it's not
   25 report, you offer an opinion that: "The method being        25 complete.

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                                                      Page 146                                                       Page 148
    1     Q. When did it start?                              1 full review is still pending and incomplete.
    2     A. It's hard to say. It's before 2023, though.     2     Q. You said that all -- that some paper files
    3 I don't recall the date.                               3 have been reviewed more than once. Why would that be?
    4     Q. Do the different training materials for the     4     A. So we want the conclusions that the
    5 different categories of documents in the Healey case 5 reviewers are making to be accurate. We don't want
    6 instruct the reviewers to follow like different steps  6 them looking at a hundred-page document and trying to
    7 depending on the nature of the particular documents    7 pull 50 pieces of information out of it.
    8 being reviewed?                                        8        So a process may tell them to find a number
    9     A. Yes. There would be kind of like in a sense     9 of pages within that, say, hundred-page document that
   10 decision trees. You're seeing whether or not a        10 are going to be the relevant ones and extract a single
   11 document contains this piece of information. If it    11 set of information from that so they can maintain
   12 doesn't, you're checking for something else. That     12 their focus and accuracy. That's one reason. So they
   13 process was created in a way to get to that objective 13 may look at the same document twice for two different
   14 criteria at the end.                                  14 objectives.
   15     Q. And I assume these are -- these training       15        Also, we conduct quality control. So that
   16 materials are written materials?                      16 allows us to ensure that the reviewers are inputting
   17     A. Some of them for really simple collections     17 reliable information. So quality control can be done
   18 may just be basically a screen share of walking       18 a couple of different ways generally, not just related
   19 through the software and instructing the reviewers on 19 to this -- this case.
   20 what to look for. So it doesn't necessarily need to   20        But using methodologies like this, we could
   21 be written.                                           21 either have two reviewers look at the same file and
   22     Q. And how about for the more complicated --      22 see if they come to the same conclusion. And if not,
   23 the decision trees?                                   23 kind of elevate the priority of another review. Or we
   24     A. I imagine for the more complicated one,        24 can continuously sample the work of reviewers and see
   25 there would probably be a working document prior to 25 if it matches that of a more supervisory reviewer and
                                                      Page 147                                                       Page 149
    1 the review that would show for jail records how to          1 that way we make sure the reliability is there for the
    2 determine why somebody is getting out of jail.              2 work they're doing.
    3     Q. How many documents -- and I'm using                  3     Q. So I take it from something you said a few
    4 "documents" broadly here to include electronic              4 minutes ago that the reviewers -- there's an actual
    5 records, paper. How many documents are involved in          5 training session where the reviewers are trained,
    6 the Healey manual review?                                   6 right?
    7     A. Once we start considering electronic                 7     A. Yeah. So for -- say there is a relatively
    8 documents like emails, we're talking well over              8 simple process like collecting contact information,
    9 a million. As far as paper scans, scans of paper,           9 right? Probably one of the more simple processes.
   10 some files can exceed 100 pages for an inmate; so, you     10 Maybe there's a photo with a label that has the
   11 know, we're looking in the hundreds of thousands of        11 contact information on it, but it's too messy, the
   12 pages of paper, upon hundreds of thousands of emails.      12 scans aren't high quality so it can't be automatically
   13 It's a significant amount.                                 13 read. So it would simply be the fields that they're
   14     Q. And any idea of what percentage of that             14 to collect, where to find that label, and what to do
   15 total has been reviewed today?                             15 if they couldn't find that label.
   16     A. All of the paper files have been reviewed,          16        And so it would be that step and that could
   17 and some cases, multiple times. The emails generally       17 be gone over to them either in a screen share, in a
   18 have been reviewed, however not finalized. It's still      18 conference room with a screen share, or any other
   19 an ongoing review because of kind of the efficiencies      19 methods for that training. We can also allow them to
   20 we add into knowing exactly which emails we should be      20 train by giving them a set of documents where we know
   21 looking at in the first place. So to the extent that       21 the results and allow them to work on them to make
   22 we've reviewed the relevant emails at least in some        22 sure that they understand the processes that have
   23 iterations, it's been a good iteration of review so        23 given to them for that particular case.
   24 far.                                                       24     Q. All right. So I want to make sure that I
   25         However, the reports and everything and the        25 have this accurately.

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                                                      Page 150                                                       Page 152
    1        So if I understand what you're saying, when     1           MS. HEMERYCK: Yeah, this is fine. We
    2 these reviewers are trained, they're not simply given  2 can take a break now.
    3 like, Here's your written instructions. Go do this.    3           MR. KUROWSKI: Okay. Thank you.
    4 There's some actual interaction that happens where     4           THE COURT REPORTER: We are off the
    5 they are receiving instruction from another human      5 record. The time is 1:42 p m.
    6 being, whether in person or virtually, on how to do    6           (Off the record)
    7 the review; is that right?                             7           THE COURT REPORTER: We are back on the
    8     A. They're receiving instruction and               8 record. The time is 1:47 p m.
    9 oftentimes, they're evaluated after that instruction   9     Q. (BY MS. HEMERYCK) Okay. So looking again
   10 to see if they're performing it correctly.            10 at paragraph 32 of Malone Exhibit 3, the third item
   11     Q. Do the reviewers have an opportunity to ask 11 there states that: "The small team..." -- I think we
   12 questions?                                            12 already read this. I'll do it again for context.
   13     A. Yes.                                           13        The small team that you're a part of is
   14     Q. And who are the questions directed to? Are 14 responsible for combining and analyzing the collected
   15 they directed to you or...                            15 data and exporting the results into another database
   16     A. They would generally be to kind of more of a 16 used to determine class membership in the Healey class
   17 supervisory reviewer.                                 17 action, right?
   18     Q. So going back to paragraph 32 of Malone        18     A. Yes.
   19 Exhibit 3, the second item in that paragraph says: "I 19     Q. So I take it from some of your earlier
   20 am a small team responsible for, Number 2, designing 20 testimony that that process of combining and analyzing
   21 custom data entry software to collect (and ensure     21 the collected data and exporting the results into
   22 accuracy of) data points relevant to class membership 22 another database is still in process?
   23 into a database."                                     23     A. Yes. And some of that, again, includes --
   24        Do you see that?                               24 we were talking to -- in the last question about
   25     A. Yes.                                           25 combining these different collected data and analyzing
                                                      Page 151                                                       Page 153
    1     Q. Okay. Are the people who are entering the            1 it includes a quality control piece to make sure only
    2 data points that have been collected into a database        2 the reliable results go in.
    3 the same people who are doing the review?                   3     Q. Okay. And so once that combining and
    4     A. In part. So when they conduct their review,          4 analyzing process is done, then does it get exported
    5 that goes into a -- into a database directly. But           5 into another database, or is it sort of all happening
    6 before it's combined or analyzed for the final              6 simultaneously?
    7 analysis, those records will either be filtered out,        7     A. It could be exported into another database
    8 because they fail quality control tests or other            8 or exported as just maybe a CSV file that could be
    9 reasons.                                                    9 used in the manner that we've used them in this case.
   10        So the reviewer's input doesn't go directly         10     Q. And so has the data that's being collected
   11 to the analysis. It goes into a database and then          11 and reviewed manually and analyzed in the Healey case
   12 that database is filtered down to what will be used        12 been used yet to determine membership in either of the
   13 for the analysis. So in a sense but not completely.        13 two subclasses that were certified there?
   14     Q. I think I understood that. Okay.                    14     A. No. It's only been agreed that they'll use
   15        And, again, paragraph 32 also states that           15 it for that purpose.
   16 this small team that you're on is responsible for:         16     Q. So I want to look now at the rebuttal
   17 "Number 3, combining and analyzing the collected data      17 report -- I'm sorry -- Malone Exhibit 3 and
   18 and exporting the results into another database used       18 specifically Exhibit 2 to Malone Exhibit 3.
   19 to determine class membership in the Healey case."         19            MS. HEMERYCK: And for the record,
   20        Right?                                              20 Exhibit 2 to Malone Exhibit 3 is a 13-page document
   21     A. Yes.                                                21 that consists of -- from the Healey case specifically
   22     Q. Okay.                                               22 that consists of "Report and Special Master Number 2,
   23            MR. KUROWSKI: We've been going for              23 Joint Proposed Recommendation to the Special Master,
   24 over an hour at this point. You know, whenever is a        24 Agreed Order for Data Collection and Analysis, and
   25 good time for another break.                               25 Minimum Required Information or Data Points to be

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                                                    Page 154                                                       Page 156
    1 Extracted From the Relevant Documents."                   1     Q. -- "submitted his initial draft report
    2     Q. (BY MS. HEMERYCK) So, Dr. Malone --                2 entitled, 'Methods of Review and Analysis of Release
    3            MS. HEMERYCK: Oh, sorry, Eli.                  3 Times for Inmates in Louisville.'"
    4     Q. (BY MS. HEMERYCK) Dr. Malone, this group of        4        Right?
    5 filings from the Healey case that's attached as           5     A. That's correct.
    6 Exhibit 2 to your rebuttal report, Malone Exhibit 3,      6     Q. And I assume you are familiar with that
    7 where did it come from?                                   7 report?
    8     A. It looks like this came either from Pacer or       8     A. I'm familiar with it.
    9 another repository for federal court filings.             9     Q. Were you involved in drafting it?
   10     Q. So did you go onto Pacer and pull this            10     A. I would have done minimal review of the
   11 document to attach to your report?                       11 drafts.
   12     A. I don't know if we had to pull this or if it      12     Q. Were you involved in developing the methods
   13 was sent to us by counsel. I see Dr. Cowan had signed    13 of review and analysis that are described in that
   14 one of these documents that's included. So one way or    14 report?
   15 another, we had it.                                      15     A. Some of them.
   16     Q. So Analytic Focus had this document?              16     Q. In fact, that's what paragraph 32 of Malone
   17     A. Yes.                                              17 Exhibit 3 is talking about, right? -- the development
   18     Q. Okay. It didn't -- wasn't provided to you,        18 of the methods of review and analysis for the Healey
   19 for example, by plaintiffs' counsel in this case?        19 case?
   20     A. No.                                               20     A. Not necessarily. Some of these other --
   21     Q. Okay. So either somebody went onto Pacer to       21 these analyses that I may have been involved in were
   22 get it or it was already in Analytic Focus's files?      22 simulation analysis and statistical analysis as well.
   23     A. Yeah.                                             23 Maybe some of them, the methods of review and I think
   24     Q. And have you seen other filings -- court          24 it was a pretty similar description of what I've given
   25 filings from the Healey case?                            25 you today.
                                                    Page 155                                                       Page 157
    1     A. I would have seen some of the other special        1    Q. So if you -- since we're still on Malone --
    2 master reports.                                           2 we went back to Malone Exhibit 3, could you go back to
    3     Q. Have you ever personally met with the              3 Exhibit 2 again? So Exhibit 2 to Malone Exhibit 3.
    4 special master?                                           4    A. Okay.
    5     A. I haven't personally, no.                          5    Q. Okay. And on that Report of Special Master
    6     Q. Okay.                                              6 Number 2, that paragraph that starts at the very
    7           MS. HEMERYCK: Is that 11?                       7 bottom of page 1, it says: "On August 10, 2022, the
    8           THE COURT REPORTER: Yes.                        8 undersigned met with counsel for the parties and with
    9     A. Thank you.                                         9 Dr. Charles D. Cowan..."
   10     Q. (BY MS. HEMERYCK) So, Dr. Malone, the court       10       Right?
   11 reporter has handed you what's been marked as Malone     11       Do you see that?
   12 Exhibit 11, which is labeled "Report and Special         12    A. I'm sorry. Paragraph -- the end of
   13 Master Number 1" from the Healey case, right?            13 paragraph two or...
   14           (Exhibit Number 11 marked)                     14    Q. It's -- so it's the first page of Exhibit 2,
   15     A. Yes.                                              15 the paragraph that starts at the very bottom of page 1
   16     Q. Okay. And this -- according to the header         16 and carries over to page 2.
   17 at the top of the page, this was filed with the court    17    A. Thank you.
   18 on July 28th, 2022, right?                               18    Q. And so just so the record is clear, that
   19     A. Yeah.                                             19 paragraph says: "On October 10, 2020, the
   20     Q. And in the middle of the first paragraph on       20 undersigned" -- which is the special master, right?
   21 page 2, if you could turn to that.                       21    A. Yes.
   22     A. Uh-huh.                                           22    Q. "...met with counsel for the parties and
   23     Q. It states that: "Pursuant to agreement on         23 with Dr. Charles D. Cowan."
   24 June 15, 2022, Dr. Cowan" --                             24       Right?
   25     A. That's correct.                                   25    A. Yes.

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                                                       Page 158                                                       Page 160
    1    Q. And it goes on from there, but it refers to            1     A. Yes.
    2 that meeting. Agreed?                                        2     Q. And Malone Exhibit 12 is the "Agreed Order
    3    A. That is correct.                                       3 for Data Collection and Analysis," right?
    4    Q. Okay. And then at the top of page 2, this              4     A. That's correct.
    5 paragraph goes on to say: "The purpose of this               5     Q. And if you go to page 5, there's actually
    6 meeting was to receive a presentation and review of          6 the signature and seal of the district judge entering
    7 Dr. Cowan's qualifications and professional experience       7 the agreed order as an order of the court, right?
    8 and his ongoing collection methodology and analysis of       8     A. Yes.
    9 data covering possible overdetention of inmates at the       9     Q. Okay. So on the first page of Malone
   10 Louisville Metro Detention Center for the period 2016       10 Exhibit 12, paragraph Number 1, the order states:
   11 to present."                                                11 "Analytic" -- that's Analytic Focus, right?
   12        Right?                                               12     A. Yes.
   13    A. Yes.                                                  13     Q. So "Analytic, under the supervision of
   14    Q. How did Dr. Cowan present his, quote,                 14 Dr. Cowan, the parties, and the special master shall
   15 ongoing collection methodology and analysis of data,        15 extract the information from all available and
   16 unquote?                                                    16 relevant documents to answer the, quote, Data Points,
   17    A. I don't know.                                         17 unquote, attached hereto as Exhibit 1 (the work)."
   18    Q. Did you have any involvement in, for                  18        Right? Do you see that?
   19 example, developing materials for Dr. Cowan to use to       19     A. Yes.
   20 present his ongoing collection methodology and              20     Q. Okay. Now, the agreed order, for whatever
   21 analysis of data at this meeting?                           21 reason, doesn't actually attach the data points, does
   22    A. I don't recall if I helped prepare any                22 it?
   23 materials for this August 10th meeting.                     23     A. (No verbal response.)
   24    Q. Have you ever seen any materials that were            24     Q. So it's not attached to UCF 126, right?
   25 prepared for this presentation at this meeting by           25     A. I can't see here that it is.
                                                       Page 159                                                       Page 161
    1 Dr. Cowan?                                                   1     Q. And I promise you I went to Pacer and
    2    A. I don't know what was presented at this                2 checked. But if you go to -- right to, as you are
    3 meeting.                                                     3 doing Exhibit 2 of Malone Exhibit 3, the
    4    Q. So still in Exhibit 2 to Malone Exhibit 3,             4 Document 125-3, that actually has the data points,
    5 can you turn to the document within Exhibit 2 that has       5 right?
    6 a number at the top, Document 125–2?                         6     A. That's correct.
    7    A. Okay.                                                  7     Q. Okay. So then further down in paragraph 1,
    8    Q. And Document 125-2 is the parties proposed             8 on Document 126, the order granted by the court,
    9 "Agreed Order for Data Collection and Analysis" in the       9 there's a sentence that reads: "The processes and
   10 Healey case, right?                                         10 procedures to extract, analyze, and present such data,
   11    A. Yes.                                                  11 including a sample period determination will be
   12    Q. And you understand that the proposed agreed           12 disclosed to and discussed with the parties and the
   13 order was, in fact, entered as an order by the court,       13 special master beforehand for their review and written
   14 right?                                                      14 approval."
   15    A. I believe so, yes.                                    15        Right?
   16    Q. Okay.                                                 16     A. Yes.
   17            MS. HEMERYCK: We'll go ahead and mark            17     Q. Okay. And now as we just discussed, the
   18 that just for the record.                                   18 data points, although not attached to the agreed order
   19            THE COURT REPORTER: Here you go.                 19 as signed by the court, they are attached to the
   20    A. Thank you.                                            20 parties proposed agreed order that is included in
   21    Q. (BY MS. HEMERYCK) Dr. Malone, the court               21 Exhibit 2 of Malone Exhibit 3, right?
   22 reporter has handed you what has been marked as Malone      22     A. Correct.
   23 Exhibit 12, which is a document from the Healey case        23     Q. And that document, which has Document 125–3
   24 that has Document 126 in the header, right?                 24 at the top on the header, lists the minimum required
   25            (Exhibit Number 12 marked)                       25 information or data points to be extracted, but it

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                                                       Page 162                                                       Page 164
    1 does not describe the processes and procedures that     1     Q. I'm sorry. Yeah?
    2 will be used to extract, analyze, and present the       2     A. I don't believe so.
    3 data, right?                                            3     Q. You don't believe so? Do you think there
    4     A. That's correct.                                  4 was a different report?
    5     Q. So have those processes and procedures been 5          A. Yes, I believe it would be an interim report
    6 disclosed to the parties and the special master as      6 that's referenced on page 2.
    7 required by paragraph 1 of Malone Exhibit 12?           7     Q. Okay. This is the bottom of page 2, where
    8     A. They may have been discussed at that             8 it says: "An interim report is expected in the first
    9 August 10th meeting or another meeting that I wasn't 9 or second week of January."
   10 privy to.                                              10     A. Yes.
   11     Q. Okay. But you have been involved, as you        11     Q. That's what you're referring to?
   12 state in paragraph 32 of your rebuttal report, in      12         Okay. So the report that is referenced
   13 particular in designing and implementing those         13 in -- on the first page of Malone Exhibit 13, the
   14 processes and procedures, right?                       14 progress report, did you provide any information for
   15     A. Yes.                                            15 that progress report?
   16     Q. Now paragraph 2 of Malone Exhibit 12, first 16         A. I don't recall exactly what that was; so I
   17 sentence states: "Dr. Cowan shall report in writing 17 can't really answer what it contained or if I worked
   18 to the parties and the special master the progress of 18 on any of it.
   19 their work in intervals of no more than 30 days."      19     Q. I'm sorry. Could -- I didn't hear part of
   20        Right?                                          20 that.
   21     A. That states that, yes.                          21     A. I don't recall what that progress report
   22     Q. Have you been involved in preparing or          22 was; so I can't answer as to whether I helped create
   23 assisting in preparing any reports by Dr. Cowan to the 23 any of it.
   24 parties and the special master?                        24     Q. Okay. I assume that progress report exists
   25     A. I know at some point there was an interim       25 in Analytic Focus's files, right?
                                                       Page 163                                                       Page 165
    1 report that presented some preliminary findings but          1            MR. KUROWSKI: Objection. Foundation.
    2 was subject to completion of the review.                     2     A. It would probably exist in Dr. Cowan's
    3     Q. And were you involved in preparing that               3 files. It may be as simple as an email that he sent
    4 report?                                                      4 saying that we're making progress.
    5     A. I would have prepared some of the data for            5     Q. (BY MS. HEMERYCK) But you don't actually
    6 it or analyses.                                              6 remember what this progress report looked like?
    7     Q. All right. So, Dr. Malone, the court                  7     A. No, I don't remember.
    8 reporter has handed you what's been marked as Malone         8     Q. Okay. If you look at the first paragraph at
    9 Exhibit 13, which is Document 127 from the Healey            9 the top of page 2 of Malone Exhibit 13, it refers to
   10 case, and it's the Report of Special Master Number 3,       10 the review of the sample months of documents, right?
   11 right?                                                      11     A. Yes.
   12            (Exhibit Number 13 marked)                       12     Q. And does that refresh your recollection at
   13     A. Yes.                                                 13 all as to what was in this progress report that was
   14     Q. And you see that was filed with the court on         14 provided?
   15 December 4, '22, according to the header at the top?        15     A. This paragraph states that he's -- that the
   16     A. Yes.                                                 16 report states that he has made substantial progress in
   17     Q. Okay. And the second paragraph on the first          17 the review but that the review of data for the sample
   18 page of Malone Exhibit 13 states: "The special master       18 months is continuing. So it doesn't sound like there
   19 and the parties have received a progress report from        19 were any real results in that progress report.
   20 Dr. Cowan pursuant to the Agreed Order for Data             20     Q. All right. So let -- understand.
   21 Collection and Analysis with respect to Analytic            21 Appreciate that. And I -- and you're obviously
   22 Focus, LLCs, ongoing collection and analysis of data."      22 reading from the document, right?
   23        Is that the interim report you were                  23     A. Yes.
   24 referencing?                                                24     Q. So my question is: Does reading from the
   25     A. I don't believe so.                                  25 document what you just read refresh your recollection

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                                                       Page 166                                                       Page 168
    1 at all as to what was in the progress report or              1 to go to paragraph 17 here. No, I think that's a
    2 whether you worked on it or whether you contributed to       2 typo.
    3 it?                                                          3        All right. I figured it out. It's actually
    4     A. No.                                                   4 Malone Exhibit 2. Well, I'll have to figure it out.
    5     Q. Okay. How many months of data are included            5 We'll have to come back to it. I don't know where it
    6 in these sample months of documents?                         6 is. Okay.
    7     A. I believe they're categorized in four                 7        All right. So let's go to paragraph 28 of
    8 months.                                                      8 your rebuttal report, Malone Exhibit 3.
    9     Q. And how many months are included in the               9        So in paragraphs 28 through 33 of Malone
   10 total population? What's the total time frame?              10 Exhibit 3, you offer an opinion that United has
   11     A. I believe it starts somewhere in the year            11 additional data that may determine whether passengers
   12 2016 to present.                                            12 requested a refund, right?
   13         And my previous answer was a little vague           13     A. That they potentially have this data.
   14 and categorized as months because it's a little bit         14     Q. All right. I mean, that's actually the
   15 more complicated than that. They're categorized in          15 heading that you have above paragraph 28, right?
   16 months. There's two definitions of either when              16     A. Yeah.
   17 inmates were booked or when inmates were released.          17     Q. And you reference in paragraph 29, refund
   18 And so that requires review of documents well beyond        18 requests submitted by customers via a form on United's
   19 four months, actually documents basically between 2016      19 website, right?
   20 and 2021 at that point.                                     20     A. Yes.
   21         So while the sample covers four months, the         21     Q. And then in paragraph 30, you reference
   22 documents being reviewed was well in excess of that.        22 emails, right?
   23     Q. How many records are included -- or                  23     A. Yes.
   24 documents are included in the sample months?                24     Q. So let's assume for the moment that you're
   25     A. It's in excess of 10,000 releases. And each          25 correct and that it would be possible to use emails
                                                       Page 167                                                       Page 169
    1 release generally has between 10 and 40 pages in a           1 and stored data from website requests to identify
    2 file and probably several hundred thousand emails            2 customers who requested refunds. Again, just assuming
    3 during that time period relevant to those releases.          3 for purposes of this question.
    4     Q. Can you estimate what percentage of the               4        Would you agree that only customers who
    5 total population of documents that are eventually            5 could be identified from these United records as
    6 going to be reviewed is included in the sample months?       6 having made a refund request would be eligible for the
    7     A. For the corresponding time period, the vast           7 proposed class?
    8 majority of the emails are included; however, the four       8           MR. KUROWSKI: Objection. Legal
    9 months would scale up to the -- roughly, scale up to         9 conclusion.
   10 the time period covered between 2016 and 2021.              10     A. I think that's outside the scope of my
   11     Q. But I'm just looking for percent --                  11 expertise.
   12     A. Yeah.                                                12     Q. (BY MS. HEMERYCK) So you don't have an
   13     Q. -- so percentage of the document population          13 opinion one way or the other on that?
   14 that is covered by the sample month, the percentage of      14     A. I don't.
   15 the total population?                                       15     Q. So -- so if identification from this
   16     A. So if you allow me just to simplify.                 16 additional United data that you believe exists of
   17     Q. Please.                                              17 persons who requested refunds isn't going to be used
   18     A. If we say five years, 60 months roughly. So          18 to determine membership in the class, what would be
   19 four out of 60.                                             19 the point of doing it?
   20     Q. Okay. Has Analytic Focus completed its               20           MR. KUROWSKI: Objection. Vague.
   21 review and analysis of the four-month sample period         21     A. I don't know that I agree with your
   22 documents?                                                  22 characterization that it won't be used, just not -- I
   23     A. It's not been completed. There's still some          23 don't have an opinion whether or not it should be
   24 reviews being conducted to finalize the analysis.           24 used, but if instructions were to -- from counsel were
   25     Q. So looking again at Malone Exhibit 3, I want         25 to change to me to exclude them for -- for that legal

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                                                        Page 170                                                       Page 172
    1 conclusion, I could use it to narrow down the class.          1     Q. You don't have any knowledge at all about
    2           MS. HEMERYCK: Okay. I have a couple                 2 what purchaser data actually exists or how it might be
    3 of follow-ups, but I want to figure out where I was --        3 stored, if at all, in United systems, do you?
    4 where that paragraph was missing. So can we take a            4     A. I don't know how it might be stored. I know
    5 break and I'll...                                             5 that they have business reasons to store purchaser
    6           MR. KUROWSKI: Yes.                                  6 data, for example, emailing receipts. I don't know to
    7           MS. HEMERYCK: Thanks.                               7 the extent of how many records that they may have that
    8           THE COURT REPORTER: We are off the                  8 for. If it's only for certain types of transactions,
    9 record. The time is 2:21 p m.                                 9 but I understand they have business reasons to have
   10           (Off the record)                                   10 this data.
   11           THE COURT REPORTER: We are back on the             11     Q. You understand that approximately 40 percent
   12 record. The time is 2:33 p m.                                12 of tickets purchased from United or tickets issued by
   13     Q. (BY MS. HEMERYCK) All right. So,                      13 United during this period were purchased through a
   14 Dr. Malone, it was, in fact, Malone Exhibit 3 that I         14 travel agency, right?
   15 was looking at. So you can -- can you go to Malone           15     A. I don't know the exact number, but I know
   16 Exhibit 3? I'm looking at paragraph 17.                      16 that a portion -- a significant portion of them are
   17        Are you there?                                        17 purchased through a travel agency.
   18     A. I am there.                                           18     Q. And do you have any information about what
   19     Q. Okay. I'm looking at the very last clause             19 purchaser data -- record locator specific purchaser
   20 of the last sentence of paragraph 17 where you state:        20 data may exist in United systems for tickets purchased
   21 "The record locators can be used to identify the             21 from a -- through a travel agency?
   22 purchaser of the particular itinerary."                      22     A. I don't know the specific data, but it's
   23        Do you see that?                                      23 still required to have the passenger names. And
   24     A. Yes.                                                  24 generally this methodology won't capture every
   25     Q. So you don't dispute that the ticket data             25 hypothetical scenario, but generally somebody who's
                                                        Page 171                                                       Page 173
    1 does not include information that identifies the              1 purchased to travel is often on an itinerary as the
    2 purchaser of a ticket, right?                                 2 passenger. So by looking at the record locator, I'm
    3     A. The ticket data, it doesn't. But the level             3 not estimating multiple purchasers when there's
    4 of the record locator should match the level of the           4 several people on the itinerary, but only narrowing it
    5 purchaser, typically.                                         5 down to one purchaser. So as far as finding an
    6     Q. I mean, what's the basis for your statement            6 estimate of class size, record locators is the most
    7 that: "The record locators can be used to identify            7 appropriate data field at this point.
    8 the purchaser"?                                               8     Q. And you keep saying that, but that's not the
    9     A. Sure. So, for example, if the purchaser                9 question I'm asking you. I'm asking you about the
   10 conducted its transaction directly with United, as I         10 ability to use record locators to identify purchasers
   11 have in the past purchased a ticket from United as a         11 which is what the -- the term the class uses, right?
   12 purchaser, I received a receipt to my email from             12 The class uses "purchaser" as your class?
   13 United. So they then took my email data, which could         13     A. Sure. So you might have the opposite where
   14 be used to identify me or contact me individually as         14 you have purchasers inputting their record locators in
   15 opposed to anybody else who might be on that same            15 order to prove whether or not they should be
   16 itinerary if I booked it for other people as well.           16 considered part of the class at some point. But I
   17        What this paragraph is getting at is the              17 don't know what data other than the passenger names
   18 record level -- I'm sorry -- the record locator level        18 associated with the record locators may exist.
   19 is much more appropriate for accounting for issues,          19     Q. Okay.
   20 the size and the class, because coupons are -- there's       20            MS. HEMERYCK: That is all the
   21 a coupon for every leg. There is a coupon for per            21 questions I have. So I turn the witness over to you,
   22 passenger leg essentially; so that makes uncertainties       22 Mr. Kurowski.
   23 in the data look a lot larger than they may really be        23            MR. KUROWSKI: Thank you, Dr. Malone,
   24 when we're talking about whether an individual               24 for your time. I have no further questions for you.
   25 purchaser may be eligible for the class or not.              25            Under the protective order, just so you

                                                                                                     44 (Pages 170 - 173)
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                                                                         Page 178                                                     Page 180
    1            DEPOSITION REVIEW                                                   1            ERRATA SHEET
                CERTIFICATION OF WITNESS
    2                                                                                         VERITEXT LEGAL SOLUTIONS MIDWEST
            ASSIGNMENT REFERENCE NO: 5929313                                         2          ASSIGNMENT NO: 5929313
    3       CASE NAME: Hansen, Mark, et al v United Airlines, Inc
                                                                                     3   PAGE/LINE(S) /    CHANGE       /REASON
            DATE OF DEPOSITION: 6/6/2023
    4       WITNESS' NAME: Sean T Malone, PhD                                        4   ___________________________________________________
    5       In accordance with the Rules of Civil                                    5   ___________________________________________________
        Procedure, I have read the entire transcript of
    6   my testimony or it has been read to me                                       6   ___________________________________________________
    7       I have made no changes to the testimony                                  7   ___________________________________________________
        as transcribed by the court reporter                                         8   ___________________________________________________
    8
      _______________           ________________________                             9   ___________________________________________________
    9 Date              Sean T Malone, PhD                                          10   ___________________________________________________
   10     Sworn to and subscribed before me, a
      Notary Public in and for the State and County,
                                                                                    11   ___________________________________________________
   11 the referenced witness did personally appear                                  12   ___________________________________________________
      and acknowledge that:                                                         13   ___________________________________________________
   12
          They have read the transcript;                                            14   ___________________________________________________
   13     They signed the foregoing Sworn                                           15   ___________________________________________________
              Statement; and                                                        16   ___________________________________________________
   14     Their execution of this Statement is of
              their free act and deed                                               17   ___________________________________________________
   15                                                                               18   ___________________________________________________
          I have affixed my name and official seal
   16
                                                                                    19
      this ______ day of_____________________, 20____                                  _______________     ________________________
   17                                                                               20 Date          Sean T. Malone, PhD
              ___________________________________
   18         Notary Public                                                         21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
   19         ___________________________________                                   22 DAY OF ________________________, 20______ .
              Commission Expiration Date
                                                                                    23       ___________________________________
   20
   21                                                                                        Notary Public
   22                                                                               24
   23
   24                                                                                        ___________________________________
   25                                                                               25       Commission Expiration Date

                                                                         Page 179
    1          DEPOSITION REVIEW
              CERTIFICATION OF WITNESS
    2
            ASSIGNMENT REFERENCE NO: 5929313
    3       CASE NAME: Hansen, Mark, et al v United Airlines, Inc
            DATE OF DEPOSITION: 6/6/2023
    4       WITNESS' NAME: Sean T Malone, PhD
    5       In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
    6   my testimony or it has been read to me
    7       I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
    8   well as the reason(s) for the change(s)
    9       I request that these changes be entered
        as part of the record of my testimony
   10
            I have executed the Errata Sheet, as well
   11   as this Certificate, and request and authorize
        that both be appended to the transcript of my
   12   testimony and be incorporated therein
   13   _______________           ________________________
        Date              Sean T Malone, PhD
   14
            Sworn to and subscribed before me, a
   15   Notary Public in and for the State and County,
        the referenced witness did personally appear
   16   and acknowledge that:
   17       They have read the transcript;
            They have listed all of their corrections
   18           in the appended Errata Sheet;
            They signed the foregoing Sworn
   19           Statement; and
            Their execution of this Statement is of
   20           their free act and deed
   21       I have affixed my name and official seal
   22   this ______ day of_____________________, 20____
   23           ___________________________________
                Notary Public
   24
              ___________________________________
   25         Commission Expiration Date


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